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 1

 2                               UNITED STATES DISTRICT COURT
 3
                              NORTHERN DISTRICT OF CALIFORNIA
 4
                                                      Case No. 10-CV-01811-YGR
 5    In re SONY PS3 “OTHER OS”
      LITIGATION                                      FINAL JUDGMENT
 6

 7

 8

 9

10

11          Pursuant to the Court’s Final Approval Order (“Final Approval Order”) dated June 8,

12   2018, it is hereby ORDERED, ADJUDGED, AND DECREED that final judgment in this matter is

13   entered in accordance with the Final Approval Order and the Settlement it incorporates (the Final

14   Approval Order, which attaches the Settlement, is attached hereto as Exhibit A-1).
15          The Court retains continuing jurisdiction over the Parties, the Action, and the Settlement

16   for purposes of enforcing the Settlement and resolving disputes under the Settlement Agreement.

17          This document constitutes a judgment and a separate document for purposes of Federal

18   Rule of Civil Procedure 58(a).

19          Only those persons listed in Exhibit B to this Final Judgment have submitted timely and

20   valid requests for exclusion from the Settlement Class and are therefore not bound by this Final

21   Judgment and the accompanying Final Approval Order.

22          IT IS SO ORDERED.

23   Dated: ____________________
              June 8 , 2018                      __________________________________
                                                    YVONNE GONZALEZ ROGERS
24                                                UNITED STATES DISTRICT JUDGE
25

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27

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                      EXHIBIT A-1
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 1

 2

 3

 4                               UNITED STATES DISTRICT COURT

 5                            NORTHERN DISTRICT OF CALIFORNIA
 6                                                     Case No.: 10-CV-01811-YGR
      In re SONY PS3 “OTHER OS”
 7    LITIGATION                                       ORDER GRANTING FINAL APPROVAL
                                                       OF CLASS ACTION SETTLEMENT;
 8                                                     SETTING COMPLIANCE HEARING RE:
                                                       FINAL REPORT AND ACCOUNTING
 9

10
            This matter came before the Court for hearing pursuant to the following: (1) the Court’s
11
     Order Granting Renewed Motion for Preliminary Approval (Dkt. No. 344); (2) Plaintiffs’
12
     Renewed Motion for Attorneys’ Fees and Costs and for Service Awards for the Plaintiffs
13
     (Dkt. No. 346); (3) Plaintiffs’ Renewed Motion for Final Approval of Class Action Settlement
14
     (Dkt. No. 350); and (4) the Stipulation of Class Action Settlement and Release executed on
15
     September 1, 2017 (the “Settlement”), entered into by the Parties to settle and finally resolve
16
     the above-captioned class action lawsuit (the “Action” or the “Class Action Lawsuit”). Due and
17
     adequate notice having been given to the Class of the proposed Settlement and the pending
18
     motions, as required by the Court’s orders, and upon consideration of all papers filed and
19
     proceedings had herein, the Court ORDERS as follows:
20
            1.      Capitalized, bolded terms not otherwise defined herein shall have the same
21
     meaning as set forth in the Settlement, attached hereto as Exhibit A.
22
            2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, and has
23
     personal jurisdiction over the Parties. Venue is proper in this District.
24
            3.      The “Class,” for purposes of this Order, shall mean:
25

26          [A]ny and all persons in the United States who purchased a Fat PS3 in the United
            States between November 1, 2006 and April 1, 2010 from an authorized retailer
27          for family, personal, and/or household use and who: (1) used the Other OS
            functionality; (2) knew about the Other OS functionality; or (3) contends or
28          believes that he or she lost value or desired functionality or was otherwise injured


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 1          as a consequence of Firmware Update 3.21 and/or the disablement of Other OS
            functionality in the Fat PS3.
 2

 3          4.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby

 4   certifies for settlement purposes only the Class, which it previously provisionally certified.

 5   Excluded from the Class are: (a) any persons who are employees, directors, officers, and agents

 6   of SCEA or its subsidiaries and affiliated companies; (b) any persons who timely and properly

 7   exclude themselves from the Settlement; and (c) the Court, the Court’s immediate family, and

 8   Court staff.

 9          5.      The Court finds that the notice provisions set forth under the Class Action

10   Fairness Act, 28 U.S.C. § 1715, were complied with in this Action.

11          6.      The Court finds that the program for disseminating notice to the Class provided

12   for in the Settlement, and previously approved and directed by the Court (the “Notice

13   Program”), has been implemented by the Settlement Administrator and the Parties, and that

14   such Notice Program, including the approved forms of notice, constitutes the best notice

15   practicable under the circumstances and fully satisfied due process, the requirements of Rule 23

16   of the Federal Rules of Civil Procedure and all other applicable laws.

17          7.      The Court reaffirms that this Action is properly maintained as a class action, for

18   settlement purposes only, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(3), and 23(e),

19   and that Class Counsel and the Plaintiffs, as Class Representatives, fairly and adequately

20   represent the interests of the Class. In support of its conclusion that this Action is properly

21   maintained as a class action, for settlement purposes, the Court finds as follows:

22          (a) the Settlement Class Members are so numerous that joinder of all members is

23          impracticable;

24          (b) there are questions of law and fact common to the Settlement Class Members, and

25          these questions predominate over any questions affecting individual Settlement Class

26          Members;

27          (c) the named Class Representatives’ claims are typical of the claims of the Settlement

28          Class Members;


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 1          (d) the named Class Representatives and Class Counsel have adequately represented

 2          and will continue to adequately represent and protect the interests of the Settlement

 3          Class;

 4          (e) class-wide treatment of the disputes raised in this Action is superior to other available

 5          methods for adjudicating the controversy before this Court; and

 6          (f) manageability issues do not prevent certification for settlement purposes because there

 7          will be no trial.

 8          8.       The Court further finds that a full and fair opportunity has been afforded to the

 9   Class Members to opt out, to object and to participate in the hearing convened to determine

10   whether the Settlement should be given final approval. Accordingly, the Court hereby

11   determines that all members of the Settlement Class are bound by this Final Approval Order.

12          9.       The Court finds that the Settlement, including the exhibits thereto, is fair,

13   reasonable and adequate to the Settlement Class, is in the best interests of the Settlement Class,

14   has been entered into in good faith and should be and hereby is fully and finally approved

15   pursuant to Federal Rule of Civil Procedure 23. The Settlement represents a fair resolution of

16   all claims asserted on behalf of Plaintiffs, as Class Representatives, and the Settlement Class

17   in this Action, and fully and finally resolves all such claims. SCEA and each member of the

18   Settlement Class shall be bound by the Settlement, including the Release set forth in Section

19   XIII of the Settlement, and by this Order and the Final Judgment entered in connection with

20   this Order.
21          10.      After considering (1) the strength of the Plaintiffs’ case; (2) the risk, expense,

22   complexity, and likely duration of further litigation; (3) the risk of maintaining class action status

23   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed

24   and the stage of the proceedings; (6) the experience and views of counsel; and (7) the reaction of

25   the Class Members to the proposed Settlement, the Court hereby finds that the Settlement is

26   in all respects fair, reasonable, and adequate and in the best interests of the Settlement Class. In
27   addition, the Court finds that there was no collusion in connection with the Settlement, that the

28   Settlement was the product of informed and arm’s-length negotiations among competent


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 1   counsel, and that the record is sufficiently developed to have enabled the Class Representatives

 2   and SCEA to adequately evaluate and consider their respective positions. Accordingly, the

 3   Court hereby finally and unconditionally approves the Settlement.

 4          11.     Class Counsel are awarded attorneys’ fees and litigation costs in the total amount

 5   of $1,250,000.00 to be paid out of the Settlement Fund, as set forth in the Court’s Order

 6   Granting In Part plaintiffs’ Renewed Motion for Attorneys’ Fees, Costs, and Incentive Awards,

 7   entered this date. The Court finds these amounts to be fair and reasonable and fairly

 8   compensates Class Counsel for their contributions to the prosecution of this Action and the

 9   Settlement. From this amount, as set forth in the Court’s separate Order of this date, Class

10   Counsel are ordered to pay to Objector Susan Lindberg attorneys’ fees, costs, and incentive

11   award in the total amount of $22,836.00.

12          12.     The Court hereby awards service awards in the amount of $3,500.00 each, to

13   each of the Plaintiffs as Class Representatives, to compensate them for their commitments and

14   efforts on behalf of the Class in this Action. These service awards will be paid out of the

15   Settlement Fund.

16          13.     The Parties are to bear their own costs, except as awarded by this Court in this

17   Final Approval Order.

18          14.     In its Order Granting Plaintiff’s Renewed Motion for Preliminary Approval (Dkt.

19   No. 344), the Court directed the parties to appoint a Settlement Administrator. The

20   Settlement Administrator shall continue to perform those duties and responsibilities that
21   remain under the Settlement and this Final Approval Order.

22          15.     The Parties and Settlement Administrator are hereby directed to implement this

23   Final Approval Order and the Settlement in accordance with the terms and provisions thereof,

24   including the processing and payment of Claims.

25          16.     As of the Effective Date, the Class Representatives and the Settlement Class,

26   on behalf of themselves and their heirs, assigns, executors, administrators, predecessors, and
27   successors, shall be deemed to have, and by operation of this Order and the Final Judgment

28   entered in connection with this Order shall have, fully released and forever discharged the


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 1   Released Parties from all Released Claims, as more fully set forth in Section XIII of the

 2   Settlement, including that the Class Representatives and the Settlement Class shall fully

 3   release and forever discharge the Released Parties and further expressly agree that they shall

 4   not now or thereafter institute, maintain, or assert against the Released Parties, either directly or

 5   indirectly, on their own behalf, or on behalf of any class or other person or entity, any action,

 6   regulatory action, arbitration, or court or other proceeding of any kind asserting causes of action,

 7   claims, damages, equitable, legal and administrative relief, interest, demands, rights or remedies,

 8   including, without limitation, claims for injunctive relief, declaratory relief, damages, mental

 9   anguish, unpaid costs, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,

10   litigation costs, restitution, disgorgement, or equitable relief against the Released Parties,

11   whether based on federal, state, or local law, statute, ordinance, regulation, the Constitution,

12   contract, common law, or any other source that arise out of or in any way relate to the subject

13   matter of the Action and the Released Claims and that were or could have been alleged in the

14   Action. Released Claims include, but are not limited to, claims arising under the common laws

15   of all fifty (50) states concerning: (a) whether SCEA falsely advertised or marketed the Fat

16   PS3’s Other OS functionality; (b) the disabling of the Other OS functionality in the Fat PS3;

17   (c) the issuance of Firmware Update 3.21; and/or (d) whether the System Software License

18   Agreement and/or PlayStation Network Terms of Service and User Agreement enable SCEA to

19   alter, remove or modify features and/or functions of the Fat PS3.

20          17.     As of the Final Settlement Date, Plaintiffs and, by operation of law, each
21   member of the Settlement Class shall further be deemed to have expressly waived and released

22   any and all provisions, rights and benefits conferred by Section 1542 of the California Civil

23   Code or similar laws of any other state or jurisdiction.

24          18.     The Court orders that, upon the Effective Date, the Settlement shall be the

25   exclusive remedy for any and all Released Claims of the Releasing Parties.

26          19.     The Court hereby dismisses this Action with prejudice, and without fees or costs
27   except as provided in the Settlement Agreement and this Order. Plaintiffs and all members of

28   the Settlement Class are hereby permanently barred and enjoined from commencing, pursuing,


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 1   maintaining, enforcing or prosecuting, either directly or indirectly, any Released Claims in any

 2   judicial, administrative, arbitral or other forum, against any of the Released Parties, provided

 3   that this injunction shall not apply to the claims of any Class Members who have timely and

 4   validly requested to be excluded from the Class. This permanent bar and injunction is necessary

 5   to protect and effectuate the Settlement, this Order and this Court’s authority to effectuate the

 6   Settlement, and is ordered in aid of this Court’s jurisdiction and to protect its judgments.

 7          20.      The Released Parties may file this Final Approval Order in any other action

 8   that may be brought against them in order to support a defense or counterclaim based on

 9   principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or

10   reduction, or any other theory of claim preclusion or issue preclusion or similar defense or

11   counterclaim.

12          21.      Nothing in this Order or in the Final Judgment entered in connection with this

13   Order shall preclude any action to enforce the terms of the Settlement.

14          22.      Without affecting the finality of this Order in any way, the Court hereby retains

15   continuing jurisdiction over: (a) all matters relating to the modification, interpretation,

16   administration, implementation, effectuation and enforcement of the Settlement; (b) further

17   proceedings, if necessary, on Plaintiffs’ Renewed Motion for Attorneys’ Fees and Costs and

18   for Service Awards for the Plaintiffs; and (c) the Parties, Class Counsel and members of the

19   Settlement Class for the purpose of administering, supervising, construing and enforcing this

20   Order and the Settlement in accordance with its terms.
21          23.      Neither this Order, the Final Judgment entered in connection with this Order,

22   nor the Settlement (nor any other document referred to herein, nor any action taken to carry out

23   this Order or the accompanying Final Judgment) shall be construed as or used as an admission

24   or concession by or against SCEA or Released Parties of the validity of any claim or defense or

25   any actual or potential fault, wrongdoing, or liability whatsoever. The Settlement and this

26   resulting Final Approval Order simply represent a compromise of disputed allegations.
27          24.      Without further order of the Court, the Parties may agree to reasonably

28   necessary extensions of time to carry out any of the provisions of the Settlement and to make


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 1   other non-material modifications, in implementing the Settlement, that are not inconsistent with

 2   this Order.

 3          25.     The Clerk shall enter Final Judgment, consistent with this Order, forthwith.

 4          26.     Class Counsel shall serve a copy of this Final Approval Order on all named

 5   parties or their counsel and the Settlement Administrator immediately upon receipt and the

 6   Settlement Administrator shall post a copy of this Final Approval Order on the Settlement

 7   Website immediately upon receipt.

 8          27.     The parties shall submit a final report and accounting within 45 days of the entry

 9   of this Final Approval Order. The Court hereby SETS a Compliance hearing regarding the filing

10   of the final report and accounting on the Court’s 2:01 p.m. calendar on Friday, August 3, 2018.

11   If the parties timely file their report, the Court will vacate the compliance hearing and no

12   appearance will be required.

13          IT IS SO ORDERED.

14             June 8, 2018
     Dated: ____________________                  __________________________________
15                                                   YVONNE GONZALEZ ROGERS
                                                   UNITED STATES DISTRICT JUDGE
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  EXHIBIT A
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             STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE
        IT IS HEREBY STIPULATED AND AGREED, by and between Anthony Ventura,

Jason Baker, James Girardi, Derrick Alba and Jonathan Huber (collectively, “Class

Representatives”), individually and on behalf of the class they seek to represent (defined below

as “Class Members”), on the one hand, and Sony Computer Entertainment America LLC,

currently known as Sony Interactive Entertainment America LLC (referred to herein as

“SCEA”), on the other hand, through their duly-authorized counsel, that the proceedings in the

United States District Court for the Northern District of California captioned In re Sony PS3

“Other OS” Litigation, Case No. C-10-1811 (YGR), including but not limited to the complaints

referenced in Section III, paragraphs 49-51, 54, and 58, below (collectively the “Action”) is

settled, fully and finally, on the terms and conditions set forth in this Agreement and the exhibits

hereto, subject to the occurrences set forth herein that permit SCEA or the Class

Representatives to terminate this Agreement, and further subject to and expressly conditioned

upon the approval of the Court and the entry of Final Judgment.

I.      INTRODUCTION

        A.      SCEA expressly denies any wrongdoing and does not admit or concede any

actual or potential fault, wrongdoing, or liability in connection with any facts or claims that have

been alleged against it in the Action. Nevertheless, SCEA considers it desirable to resolve the

Action on the terms stated herein in order to avoid further expense, inconvenience, and

interference with its business operations and to dispose of burdensome litigation. Therefore,

SCEA has determined that the settlement of the Action on the terms set forth herein is in its best

interests.

        B.      This Agreement reflects a compromise between the Parties and shall in no event

be construed as or deemed an admission or concession by any Party of the truth of any of the

pleadings in the Action or of any fault on the part of SCEA and all such allegations or the

validity of any purported claim or defense asserted are expressly denied. Nothing in this



                                                 1
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Agreement shall constitute an admission of liability or may be used as evidence of liability by or

against any Party hereto.

       C.      Class Counsel and Class Representatives believed that their claims were valid

and were likely to prevail. Nevertheless, based upon their review, investigation, and evaluation

of the facts and law relating to the matters alleged in the Action, Class Representatives and

Class Counsel, on behalf of the putative Class, have agreed to settle the Action pursuant to the

provisions of this Agreement, after considering, among other things: (1) the substantial benefits

to the Class under the terms of this Agreement; (2) the risks, costs, and uncertainty of protracted

litigation, especially in complex actions such as this, as well as the difficulties and delays

inherent in such litigation; and (3) the desirability of consummating this Agreement promptly in

order to provide expeditious and effective relief to the Class.

       D.      This Settlement was reached after arm’s-length settlement negotiations among

and between Class Counsel, Class Representatives, SCEA, and SCEA’s Counsel, including

three mediation sessions before three different retired judges. Most recently, the Parties

mediated before retired Justice James Lambden on April 6, 2017 but did not reach an agreement.

After extensive continued negotiations aided by Justice Lambden, the Parties reached an

agreement on most material terms on May 26, 2017 and a final agreement on August 24, 2017.

II.    DEFINITIONS AND CONVENTIONS

       A.      DEFINITIONS

       As used in this Agreement, capitalized bolded terms have the following meaning, unless

specifically provided otherwise:

       1.      “Action” means the putative class action complaint, including all individually

filed, consolidated, coordinated and amended complaints filed in: In re Sony PS3 “Other OS”

Litigation, Case No. C-10-1811 (YGR), currently pending in the Northern District of California,

Oakland Division, before the Honorable Yvonne Gonzalez Rogers.

       2.      “Administration Cost” or “Administrative Costs” means the reasonable, actual

and direct costs charged by the Settlement Administrator for its services and includes the costs

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of Class Notice, implementing the Claim Process and carrying out any other responsibility

consistent with the terms of this Agreement. Administration Costs do not include other fees,

costs or expenses, including Attorneys’ Fees and Costs, Court costs or Service Awards.

       3.      “Administrator” or “Settlement Administrator” means the third-party

administrator retained by the Parties to administer the Settlement, including providing Class

Notice to the Class Members, processing and evaluating Claims and other documents, and

performing other tasks that are provided for in this Agreement.

       4.      “Agreement” means the terms and conditions of this document entitled

“Stipulation of Class Action Settlement and Release.”

       5.      “Attorneys’ Fees and Costs” means such funds as may be awarded by the Court

to Class Counsel to compensate all Counsel in the Action for their fees and expenses incurred in

connection with the Action and the Settlement.

       6.      “Claim” means the claim of a Class Member or his or her legal representative

submitted in compliance with the procedure provided in this Agreement as described in Section

V.

       7.      “Claimant” means a Class Member or his or her legal representative who

submits a Claim.

       8.      “Claim Deadline” means ninety (90) days following the Notice Date, unless a

different date is ordered by the Court.

       9.      “Claim Form” means the document by which Class Members may submit a

Claim, substantially in the form attached hereto as Exhibit 1.

       10.     “Claim Process” means the process for submitting and reviewing Claims as

described in Section V of this Agreement.

       11.     “Class Counsel” refers collectively to the law firms listed below who were

appointed as Interim Co-Lead Counsel on June 30, 2010 and seek to be appointed as Class

Counsel:



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               555 Montgomery Street
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               San Francisco, CA 94111
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               Fax: 415-374-8373
               Email: kfisher@calvofisher.com

       12.     “Class” or “Class Member” or “Class Members” means any and all persons in

the United States who purchased a Fat PS3 in the United States between November 1, 2006 and

April 1, 2010 from an authorized retailer for family, personal, and/or household use and who:

(1) used the Other OS functionality; (2) knew about the Other OS functionality; or (3) contends

or believes that he or she lost value or desired functionality or was otherwise injured as a

consequence of Firmware Update 3.21 and/or the disablement of Other OS functionality in the

Fat PS3. Excluded from the Class are: (a) any persons who are employees, directors, officers,

and agents of SCEA or its subsidiaries and affiliated companies; (b) any persons who timely and

properly exclude themselves from this Settlement; and (c) the Court, the Court’s immediate

family, and Court staff.

       13.     “Class Notice” means all types of notice that will be provided to the Class

Members pursuant to Federal Rule of Civil Procedure 23(e), the Preliminary Approval Order

and this Agreement, including email notice, publication notice, website notice, and any


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additional notice that may be ordered by the Court.

        14.    “Class Period” means the time period between November 1, 2006 and April 1,

2010.

        15.    “Class Representatives” or “Plaintiffs” means plaintiffs Anthony Ventura, Jason

Baker, James Girardi, Derrick Alba and Jonathan Huber, collectively.

        16.    “Court” means the United States District Court for the Northern District of

California.

        17.    “Defendant” means Sony Computer Entertainment America LLC, currently

known as Sony Interactive Entertainment America LLC.

        18.    “Effective Date” means the earliest of the following: (1) the date of entry of the

Final Judgment if (a) no objection is filed to the Settlement or if all objections are withdrawn

prior to the Court ruling on them and (b) no appeal is taken from the Final Approval Order

and/or Final Judgment; or (2) thirty-one (31) calendar days after the entry of the Final

Judgment if objections are filed and overruled and no appeal is taken from the Final Approval

Order and/or Final Judgment; (3) if one or more timely appeals is taken from the Final

Approval and/or Final Judgment, thirty-one (31) calendar days after the date as of which all

such appeals have been voluntarily dismissed or have been finally resolved after being heard and

any subsequent appeals or petitions for certiorari have been resolved. “Execution Date” means

the date upon which the last signature is placed on this Agreement.

        19.    “Fat PS3” means the Sony PlayStation®3 computer entertainment console that

was manufactured between approximately November 1, 2006 and September 2009 that included

the Other OS functionality. A list of Fat PS3 model numbers is attached hereto as Exhibit 7.

        20.    “Fee And Expense Award” means an award of attorneys’ fees and the

reimbursement of litigation costs and expenses authorized by the Court to be paid to Class

Counsel from the Settlement Funds for the services they provided in representing the Class.

“Service Award” means an award in an amount not to exceed three thousand five hundred

dollars ($3,500) authorized by the Court to be paid to each Class Representative for the services

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they provided in representing the Class.

       21.     “Final Approval Hearing” or “Fairness Hearing” means a hearing held before

the Court during or following which the Court will: (1) make a final decision regarding whether

to finally approve this Agreement as fair, reasonable and adequate; (2) determine the amount of

any Fee And Expense Award and any Service Award; and (3) rule on the merit of any

objections to this Agreement.

       22.     “Final Approval” or “Final Approval Order” means an order issued by the

Court finally approving this Agreement as binding upon the Parties and substantially in the

form attached hereto as Exhibit 2.

       23.     “Final Judgment” means the Court’s order finally disposing of the Action,

substantially in the form attached hereto as Exhibit 3.

       24.     “Firmware Update 3.21” means the software update that SCEA issued in April

2010 which, among other things, disabled the Other OS functionality from the Sony

PlayStation®3 upon installation.

       25.     “Funding Date” is the date by which SCEA will deposit with the Settlement

Administrator the sum of Three Million Seven Hundred and Fifty Thousand dollars

($3,750,000) as Settlement Funds. The Funding Date is thirty-five days (35) after the

Effective Date.

       26.     “Long Form Class Notice” or “Long Form Notice” means a notice substantially

in the form of Exhibit 4 attached hereto and approved by the Court, which the Settlement

Administrator shall make available on the Settlement Website pursuant to the terms of this

Agreement. The Long Form Class Notice will at a minimum contain the following:

                      (i)     a concise statement of the background of the Action, the

               certification of the Class for settlement purposes, and the Settlement;

                      (ii)    a description of the nature and scope of the claims, causes of

               action, and facts compromised in the Settlement that will be subject to the

               release;

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             (iii)   a description of the relief provided by the Settlement;

             (iv)    instructions to the Class Members on how to submit a claim or an

      exclusion request and of their right to object to the Settlement;

             (v)     an explanation of the impact of the Settlement on participation in

      any existing and future litigation, arbitration, regulatory action, remediation, or

      other proceeding(s);

             (vi)    a statement that any relief to the Settlement Class is contingent on

      the Court’s Final Approval;

             (vii)   a statement that Class Counsel’s Fee and Expense Award and

      Service Awards will be paid from the Settlement Funds and that individual

      Class Members will not be responsible themselves for paying any attorneys’

      fees, costs, litigation expenses, administration expenses or service awards (unless

      they elect to retain their own attorney at their own expense);

             (viii) the date, time, and place of the Final Approval Hearing, notice of

      Class Members’ right to object to the Settlement, their right to appear in support

      of any timely and validly submitted objection, and their right to appear at the

      Final Approval Hearing as provided by this Settlement or ordered by the Court

      in the Preliminary Approval Order, on their own or through counsel of their

      own selection (at their own expense), and the procedures for doing so as further

      described below;

             (ix)    advise that any Final Judgment entered in the Action will be

      binding on all Class Members who do not timely exclude themselves from the

      Settlement; and

             (x)     inform the Class Members that they will be releasing all current

      and future claims against the Released Parties concerning or relating in any way

      to the Released Claims.



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       27.     “Notice Date” is the date by which the initial Class Notice shall be completed by

the Administrator and shall be forty-five (45) days after Preliminary Approval unless a

different date is order by the Court.

       28.     “Objection Deadline” means ninety (90) days following the Notice Date unless a

different date is ordered by the Court.

       29.     “Opt-out Deadline” or “Exclusion Deadline” means ninety (90) days following

the Notice Date unless a different date is ordered by the Court.

       30.     “Other OS” means the alternative Operating System functionality that enabled a

user to install Linux on a Fat PS3.

       31.     “Party” or “Parties” means individually or collectively the Class

Representatives and SCEA as defined herein.

       32.     “Payment Date” is the date by which the Settlement Administrator will: (i)

mail checks to Valid Claimants; and (ii) pay funds due to Class Counsel and Class

Representatives. The Payment Date is thirty days (30) after the Funding Date unless the pro

rata amount per Valid Claimant exceeds $65.00 and the Parties have filed disputed motions

with the Court as to the distribution of the excess funds. If such motions are filed, the Payment

Date shall be the later of thirty days (30) after the Court’s resolution of such motions or thirty

days (30) after the Funding Date.

       33.     “Preliminary Approval” or “Preliminary Approval Order” means an order

entered by the Court preliminarily approving the terms and conditions of this Agreement and

the Settlement, substantially in the form of Exhibit 5 attached hereto.

       34.     “Publication Notice” means display of the content of the Short Form Notice in

online and print media pursuant to a notice plan to be agreed upon by the Parties.

       35.     “Released Claims” means all claims, demands, rights, and liabilities, whether

known or unknown, and regardless of legal theory, that arise from the purchase of a Fat PS3 and

that relate to, are based on, concern or arise out of the allegations, facts or circumstances that

were asserted or could have been asserted (whether individually or on a class-wide basis) in the

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Action. Released Claims include, but are not limited to, claims arising under the common laws

and statutes of all fifty (50) states concerning: (a) whether SCEA falsely advertised or marketed

the Fat PS3’s Other OS functionality; (b) the disabling of the Other OS functionality in the Fat

PS3; (c) the issuance of Firmware Update 3.21; and/or (d) whether the System Software

License Agreement and/or PlayStation Network Terms of Service and User Agreement enable

SCEA to alter, remove or modify features and functions of the Fat PS3.

       36.     “Released Parties” means SCEA and each of its current and former parents,

subsidiaries, divisions, and affiliated individuals and entities, successors, predecessors, assigns,

joint ventures, distributors, retailers, developers and/or licensees and each and all of their

respective officers, partners, directors, servants, agents, shareholders, members, managers,

principals, investment advisors, consultants, employees, representatives, attorneys, accountants,

lenders, underwriters and insurers.

       37.     “SCEA” means Defendant Sony Computer Entertainment America LLC,

currently known as Sony Interactive Entertainment America LLC.

       38.     “SCEA’s Counsel” means the following attorneys:

                       Luanne Sacks
                       Michele Floyd
                       Michael Scott
                       Sacks, Ricketts & Case, LLP
                       177 Post Street, Suite 650
                       San Francisco, CA 94108
       39.     “Settlement” means the terms and conditions set forth in this Agreement.

       40.     “Settlement Benefit” means payments made to Valid Claimants pursuant to the

terms of this Agreement.

       41.     “Settlement Class” means all Class Members except: (i) persons who properly

exclude themselves from the Settlement; (ii) any persons who are employees, directors, officers

or agents of SCEA or its subsidiaries and affiliated companies; or (iii) any judge, justice, judicial

officer, or judicial staff of the Court and the Court’s immediate family members.
       42.     “Settlement Fund(s)” means the sum of Three Million Seven Hundred and Fifty

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Thousand dollars ($3,750,000) to be paid by SCEA to the Settlement Administrator pursuant

to Section V, paragraph 71, below.

       43.     “Settlement Website” means the website established by the Settlement

Administrator consistent with the entry of the Preliminary Approval Order to provide

information regarding the Settlement, including information regarding submitting a Claim for

Settlement Benefits, and requesting exclusion from or objecting to the Settlement.

       44.     “Short Form Class Notice” or “Short Form Notice” means the summary form

of notice of the Settlement that will be transmitted by email to Class Members and appear as

the Publication Notice. The Short Form Notice shall be substantially in the form attached

hereto as Exhibit 6.

       45.      “Valid Claimant(s)” means all Class Members who have not excluded

themselves from the Settlement and who the Settlement Administrator determines have

submitted a timely and valid Claim.

       B.      CONVENTIONS

       46.     All personal pronouns used in this Agreement, whether used in the masculine,

feminine, or neuter gender, shall include all other genders and the singular shall include the

plural and vice versa except where expressly provided to the contrary.

       47.     All references herein to sections, paragraphs, and exhibits refer to sections,

paragraphs, and exhibits of and to this Agreement, unless otherwise expressly stated in the

reference.

       48.     The headings and captions contained in this Agreement are inserted only as a

matter of convenience and in no way define, limit, extend, or describe the scope of this

Agreement or the intent of any provision thereof.

III.   THE LAWSUIT

       49.     On April 27, 2010, Anthony Ventura filed a class action complaint in the

Northern District of California, Case No. 10-cv-1811(RS), asserting causes of action for: (1)

Breach of Contract; (2) Breach of the Covenant of Good Faith and Fair Dealing; (3) Unjust

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Enrichment; (4) violation of the California Unfair Competition Law (Cal. Bus. & Prof. Code

§§17200 et seq.); and (5) violation of the California Consumers Legal Remedies Act (Cal. Civ.

Code §§ 1770 et seq.).

       50.      Six more complaints alleging the same basic facts were subsequently filed as

follows:

                        Baker, et al. v. Sony Computer Entertainment America LLC, Northern

       District of California, Case No. 10-cv-1697 (April 30, 2010) for: (1) Breach of Contract;

       (2) Breach of the Implied Covenant of Good Faith and Fair Dealing; (3) violation of the

       California Unfair Competition Law (Cal. Bus. & Prof. Code §§17200 et seq.); and (4)

       violation of the California Consumer’s Legal Remedies Act (Cal. Civ. Code §§ 1770 et

       seq.).

                        Densmore, et al. v. Sony Computer Entertainment America LLC, Northern

       District of California, Case No. 10-cv-1945 (April 30, 2010) for: (1) Breach of Contract;

       (2) Breach of the Implied Covenant of Good Faith and Fair Dealing; (3) Trespass to

       Chattels; (4) Unjust Enrichment; (5) violation of the California Consumer’s Legal

       Remedies Act (Cal. Civ. Code §§ 1770 et seq.); (6) violation of the Computer Fraud and

       Abuse Act (18 U.S.C. § 1030); (7) violation of the California False Advertising Act (Cal.

       Bus. & Prof. Code §§ 17500 et seq.); and (8) violation of the California Unfair

       Competition Law (Cal. Bus. & Prof. Code §§17200 et seq.).

                        Wright, et al. v. Sony Computer Entertainment America LLC, Northern

       District of California, Case No. 10-cv-1975 (May 10, 2010) for: (1) violation of the

       California Unfair Competition Law (Cal. Bus. & Prof. Code §§17200 et seq.); (2) Breach

       of Contract; (3) Breach of the Implied Covenant of Good Faith and Fair Dealing; (4)

       Unjust Enrichment; (5) violation of the California Consumer’s Legal Remedies Act (Cal.

       Civ. Code §§ 1770 et seq.); and (6) Equitable Relief.

                        Huber v. Sony Computer Entertainment America LLC, Northern District

       of California, Case No. 10-cv-2213 (May 21, 2010) for: (1) Breach of Express Warranty;

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       (2) Breach of Implied Warranty of Merchantability; (3) violation of the California

       Consumer’s Legal Remedies Act (Cal. Civ. Code §§ 1770(a)(5), (7) and (9)); (4)

       Conversion; (5) Violation of the Magnuson Moss Warranty Act (15 U.S.C. §§2301 et

       seq.); (6) violation of the California False Advertising Law (Bus. & Prof. Code §§ 17500

       et seq.); and (7) violation of the California Unfair Competition Law (Bus. & Prof. Code §

       17200 et seq.).

                        Harper, et al. v. Sony Computer Entertainment America, Inc., Case No.

       10-cv-02197 (N.D. Cal. May 21, 2010) for: (1) violation of the California Consumer

       Legal Remedies Act, Cal. Civ. Code. §1770, et seq.; (2) violation of the California Unfair

       Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.; (3) violation of the California

       False Advertising Law, Cal. Bus. & Prof. Code § 17500; (4) Breach of Contract/Breach

       of Duty of Good Faith and Fair Dealing; and (5) Unjust Enrichment.

                        Benavides v. Sony Computer Entertainment America, Inc. et al., Case No.

       10-cv-02612 (N.D. Cal. June 14, 2010) for: (1) Breach of Contract; (2) violation of the

       California False Advertising Law, Cal. Bus. & Prof Code § 17500, et seq.; (3) violation

       of the California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.; (4)

       Breach of Covenant of Good Faith and Fair Dealing; (5) Unjust Enrichment; (6) violation

       of California Consumer Legal Remedies Act, Cal. Civ. Code § 1770, et seq.

       51.     On June 16, 2010, Judge Richard Seeborg issued an order finding that the seven

cases were related and the Plaintiffs filed an “Amended Consolidated Class Action Complaint”

on July 30, 2010, captioned: In re Sony PS3 “Other OS” Litigation, United States District Court,

Northern District of California, Case No. C-10-1811 (RS), alleging: (1) Breach of Express

Warranty; (2) Breach of the Implied Warranty of Merchantability; (3) Breach of the Implied

Warranty of Fitness for a Particular Purpose; (4) violation of the Consumers Legal Remedies Act

(Cal. Civ. Code §§ 1770(a)(5), (7), (9), (19)); (5) violation of the Computer Fraud and Abuse Act

(18 U.S.C. §§ 1030, et seq.); (6) violation of the Magnuson-Moss Warranty Act (15 U.S.C. §

2301); (7) Violation of Cal. Bus. & Prof. Code §§ 17500, et seq. (False Advertising); (8)

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violation of Cal. Bus. & Prof. Code §§ 17200, et seq. (Unfair Competition); (9) Conversion; and

(10) Unjust Enrichment.

        52.     In December 2010, a number of discovery disputes arose which culminated in the

filing of a motion to compel by the Plaintiffs (Docket No. 112), a motion for a protective order

filed by Plaintiffs (Docket No. 111), and a motion to compel filed by SCEA (Docket No. 116).

After full briefing, Magistrate Judge Chen granted in part, and denied in part, all of the discovery

motions.

        53.     On February 17, 2011, Judge Seeborg entered an order granting in part SCEA’s

motion to dismiss with leave to amend, and denied SCEA’s motion to strike the class allegations

in their entirety.

        54.     On March 9, 2011, the Plaintiffs filed a First Amended Class Action Complaint

alleging: (1) Breach of Express Warranty; (2) Breach of Implied Warranty of Merchantability;

(3) Breach of the Implied Warranty of Fitness for a Particular Purpose; (4) violation of the

Consumers Legal Remedies Act (Cal. Civ. Code §§ 1770(a)(5), (7), (9), (19)); (5) violation of

the Computer Fraud and Abuse Act (18 U.S.C. §§ 1030, et seq.); (6) violation of the Magnuson-

Moss Warranty Act (15 U.S.C. §§ 2301, et seq.); (7) violation of Cal. Bus. & Prof. Code

§§17500, et seq. (False Advertising); (8) violation of Cal. Bus. & Prof. Code §§ 17200, et seq.

(Unfair Competition); and (9) Unjust Enrichment.

        55.     On July 7, 2011, the Parties participated in a private mediation session that was

unsuccessful before the Honorable James L. Warren (Ret.) of JAMS.

        56.     On December 8, 2012, Judge Seeborg granted SCEA’s motion to dismiss and

dismissed the First Amended Class Action Complaint with prejudice.

        57.     The Plaintiffs appealed to the Ninth Circuit (Case No. 11-18066) and the Ninth

Circuit issued an order affirming in part and vacating in part Judge Seeborg’s order of dismissal.

        58.     Consistent with the Ninth Circuit’s Order, the Plaintiffs filed a Second Amended

Complaint, No. 4:10-cv-01811 (SC), on May 29, 2014 for: (1) violation of the California

Consumers Legal Remedies Act (Cal. Civ. Code § 1770(a) (5), (7)); (2) violation of the

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California False Advertising Law (Bus. & Prof. Code § 17500 et seq.); and (3) violation of the

California Unfair Competition Law (Bus. & Prof. Code § 17200 et seq.). On remand, the case

was reassigned to Judge Samuel J. Conti after Judge Seeborg recused himself.

       59.     The Parties thereafter engaged in extensive discovery over the course of

approximately ten (10) months. Both Parties propounded extensive written discovery. In

response to the Plaintiffs’ Requests for Production of Documents, SCEA produced

approximately 4,000 documents, comprised of approximately 26,000 pages and responded to

Interrogatories propounded by the Plaintiffs. SCEA deposed all five (5) named Plaintiffs, and

the Plaintiffs deposed seven (7) SCEA witnesses, three of which were designated to testify on

behalf of SCEA pursuant to Federal Rule of Civil Procedure 30(b)(6). The Plaintiffs also

responded to Interrogatories propounded by SCEA and produced documents in response to its

Requests for Production of Documents. The Plaintiffs also produced their PS3s for SCEA’s

inspection.

       60.     On or about August 20, 2015, the Parties mediated the case before retired Judge

Howard Weiner for a full day but were unable to reach an agreement.

       61.     On November 3, 2015, the case was reassigned to Judge Yvonne Gonzalez

Rogers upon Judge Conti’s retirement.

       62.     The Parties continued to negotiate and after approximately six (6) months of

extensive arm’s-length negotiations, the Parties signed the MOU on January 28, 2016.

       63.     On February 12, 2016, the Parties notified the Court that they had signed the

MOU and were proceeding to negotiate the details of the Settlement and draft a formal

settlement agreement.

       64.     On September 8, 2016, the Court preliminarily approved the Parties’ settlement

and ordered notice to the class. [Dkt. 270].

       65.     On January 31, 2017, the Court denied a motion by Plaintiffs for final approval

of the Parties’ settlement without prejudice. [Dkt. 300].

       66.     In light of the Court’s January 31, 2017 Order, the Parties mediated again, this

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time before retired Justice James Lambden. The Parties attended a full day mediation session on

April 6, 2017 but were unable to reach an agreement that day.

       67.     The Parties continued to negotiate with further assistance from Justice Lambden.

The Parties reached the present Agreement on August 24, 2017.

IV.    CONDITIONAL CLASS CERTIFICATION FOR SETTLEMENT PURPOSES

       ONLY

       68.     The Parties reached this Agreement before the Plaintiffs filed a motion for class

certification. Accordingly, as part of this Settlement, the Plaintiffs shall include a request for

conditional certification as part of their Motion for Preliminary Approval that seeks

certification of the Class for settlement purposes.

       69.     As a material part of this Settlement, SCEA, while reserving all defenses if this

Settlement Agreement is not finally approved, hereby stipulates and consents, solely for

purposes of and in consideration of the Settlement, to conditional certification of the above-

referenced Class for settlement purposes only. SCEA’s stipulation and consent to class

certification is expressly conditioned upon the entry of a Preliminary Approval Order, a Final

Approval Order and Final Judgment. As part of its conditional stipulation, SCEA further

consents to the appointment of Class Counsel and Class Representatives to represent the Class.

       70.     The conditional certification of the Class, the appointment of the Class

Representatives, and of Class Counsel shall be binding only with respect to this Settlement

and this Settlement Agreement. If the Court fails to enter a Preliminary Approval Order or a

Final Approval Order, or if this Settlement Agreement and the Settlement proposed herein is

terminated, canceled, or fails to become effective for any reason whatsoever, the class

certification, to which the Parties have stipulated solely for the purposes of this Settlement, this

Settlement Agreement and all of the provisions of any Preliminary Approval Order or any

Final Approval Order shall be vacated by their own terms and the Action shall revert to its

status as it existed prior to the date of this Settlement Agreement with respect to class

certification, and appointment of class representatives and class counsel. In that event, SCEA

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shall retain all rights it had immediately preceding the execution of this Settlement Agreement

to object to the maintenance of the Action as a class action, the appointment of class

representatives, and the appointment of class counsel and, in that event, nothing in this

Settlement Agreement or other papers or proceedings related to this Settlement shall be used as

evidence or argument by any of the Parties concerning whether the Action may properly be

maintained as a class action under applicable law, whether any of the Plaintiffs are adequate or

typical class representatives, or whether Class Counsel is adequate class counsel.

V.     CLASS RELIEF AND DISTRIBUTION OF SETTLEMENT BENEFITS

       71.     Settlement Fund. In full, complete, and final settlement and satisfaction of the
Action and all Released Claims, and subject to all of the terms, conditions, and provisions of

this Agreement, including conditional certification as provided for in Section IV and

Preliminary Approval and Final Approval, SCEA will pay to the Settlement Administrator,

no later than the Funding Date, the sum of Three Million, Seven Hundred and Fifty Thousand

dollars ($3,750,000) to create the Settlement Fund, which will be used to pay, in the following

order: (1) Class Notice and Administration Costs; (2) Attorneys’ Fees and Costs to Class

Counsel; (3) Service Awards to the Plaintiffs; and (4) Valid Claims submitted by Settlement

Class Members, as described below. The Settlement Fund will be maintained by the

Settlement Administrator as a Court-approved Qualified Settlement Fund pursuant to Section

1.468B-1 et seq. of the Treasury Regulations promulgated under Section 468B of the Internal

Revenue Code of 1986, as amended. Any and all interest earned by the Qualified Settlement

Fund prior to the Payment Date shall be distributed to Valid Claimants pursuant to the terms of

this Agreement, and shall not be used for any other purpose.

       72.     In order to receive a benefit, each Settlement Class Member must submit a

timely and complete Claim Form, either by mail or electronically, to make a claim for

compensation from the Settlement Fund. The Claim Form shall be substantially in the form

attached hereto as Exhibit 1. Settlement benefits will be distributed to Valid Claimants on a

pro rata basis up to and including the sum of $65.00 per Valid Claimant. Any Settlement Class

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Member who previously a submitted a Claim Form will be automatically included and will not

be required to submit an additional Claim Form.

       73.     To the extent there is any money remaining in the Settlement Fund after

calculation and subtraction of the distribution amount due to the Valid Claimants pursuant to

paragraph 72, above, the parties shall meet and confer regarding the manner in which remaining

funds will be distributed and either party may move the Court for an order directing the

distribution. The other Party may oppose such motion if they do not agree to the proposed

distribution. In a contested motion, both Parties agree: (1) to file their moving papers no later

than the date upon which the moving papers in support of Final Approval are filed and

oppositions will be filed no later than the date upon which any opposition to the motion for Final

Approval would be due; and (2) to limit their submission and any opposition to five (5) pages

each; and (3) not to appeal the Court’s decision. If the Parties are in agreement, they will

submit a proposed Joint Order to the Court.

       74.     The Settlement Administrator shall submit to SCEA and to Class Counsel a

weekly report of the Claims that are submitted so that SCEA can, in its sole discretion, verify

the validity of the serial number, and/or associated PlayStation Network Sign-In ID and/or

PlayStation Network Online ID provided. SCEA will advise the Settlement Administrator and

Class Counsel not less than 15 business days after the Settlement Administrator provides its

final report of any invalid serial numbers or associated PlayStation Network Sign-In ID or

PlayStation Network Online IDs, if and to the extent that SCEA identifies any.

       75.     The Settlement Administrator shall have discretion that it will exercise in good

faith to reject fraudulent, incomplete, factually inaccurate or otherwise invalid Claims. If

requested by the Settlement Administrator, Class Counsel and SCEA’s Counsel shall provide

the Settlement Administrator with agreed upon guidelines for accepting and rejecting claims.

       76.     Distribution of Payments to the Class. No later than ten (10) days after the

Claims Deadline, the Settlement Administrator, using the information submitted by Class

Members, shall create and provide to Class Counsel and SCEA’s Counsel a complete and final

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list of Valid Claimants that includes each member’s name and PlayStation Network Sign-In ID,

PlayStation Network Online ID and/or serial number as provided and calculate the amounts due

as well as any remainder funds that are available. SCEA’s Counsel and Class Counsel shall

take appropriate steps to safeguard the list and shall not use it for any purpose other than the

administration and implementation of this Settlement Agreement. Class Counsel agrees to

return this list to the Settlement Administrator within sixty (60) days after the Effective Date

or within sixty (60) days of denial of Final Approval as applicable.

       77.     By the Payment Date, the Settlement Administrator shall determine the

amounts due to each Valid Claimant and mail checks via First Class U.S. Mail, proper postage

prepaid, to the Valid Claimants, drawn from the Settlement Fund as set forth in paragraphs 71-

72 of this Agreement. Payment checks to Valid Claimants shall be sent to the mailing address

indicated in each Valid Claimant’s Claim Form. Checks to Valid Claimants shall be valid for

a period of one hundred and twenty (120) days from the date appearing on the payment check.

For any payment check that is returned undeliverable with forwarding address information, the

Settlement Administrator shall re-mail the check to the provided address. For any payment

check that is returned undeliverable without forwarding address information, the Settlement

Administrator shall make reasonable efforts to identify updated address information and re-mail

the check to the extent an updated address is identified.

       78.     If payment checks are returned undeliverable or have not been cashed one

hundred and twenty (120) days after the date appearing on the payment check, the Parties agree

that the funds will be returned to the Settlement Fund for distribution to the Public Justice

Foundation and/or The National Consumer Law Center upon Motion to the Court.

VI.    CLASS NOTICE

       79.     The Parties, subject to Court approval, agree to the following Class Notice

procedures which the Parties agree is the best notice practicable.




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      A.     Dissemination of the Short Form Notice.

             (i)     The Parties acknowledge that SCEA has already prepared an

      electronic database that is reasonably calculated to include the email address(es)

      of all the Class Members known by SCEA through its PlayStation Network

      Database as of the date of Preliminary Approval. Within fourteen (14) days of

      the Preliminary Approval Order or on such date otherwise ordered by the

      Court, SCEA will update the content of the previously provided database and

      provide it to the Settlement Administrator. The Class data shall not be provided

      to the Class Representatives, Class Counsel or anyone other than the

      Settlement Administrator.

             (ii)    By no later than the Notice Date, the Settlement Administrator

      shall send the Short Form Class Notice, in the form approved by the Court, to

      Class Members via email, along with a link to the Settlement Website. The

      subject line for all emails covered by this paragraph shall be: “Important - Notice

      of New Class Action Settlement Regarding PlayStation 3 ‘Other OS’ Function.”

             (iii)   Publication of Short Form Notice. The Settlement
      Administrator shall cause the Short Form Notice to be published in various

      publications and online platforms designed to reach as many class members as

      possible.

             (iv)    The Class Notice program shall be sufficient to satisfy due

      process.




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       B.     Dissemination of the Long Form Notice. By no later than the Notice

Date, the Settlement Administrator shall post on the Settlement Website the Long

Form Notice approved by the Court. Both the Short Form Notice and the Long Form

Notice shall include the following information:

              (i)     General Terms: The notices shall contain a plain, neutral,

       objective, and concise description of the nature of the Action and the proposed

       Settlement.

              (ii)    Opt-Out Rights: The notices shall inform Class Members that

       they have the right to opt-out of the Class and the Settlement and shall provide

       the deadline and procedures for exercising this right.

              (iii)   Objection to Settlement: The notices shall inform the Class

       Members of their right to object to the proposed Settlement, Class Counsel’s fee

       application, and/or the requested Service Awards and of their right to appear at

       the Fairness Hearing and shall also provide the deadlines and procedures for

       exercising these rights.

              (iv)    Fees and Expenses: The notices shall inform Class Members

       about the potential amounts being sought by Class Counsel as Attorneys’ Fees

       and Expenses and the amounts of the Service Awards being sought for the Class

       Representatives.

              (v)     Claim Form for Class Members: The notices shall advise the

       Class Members that a Claim Form is available on the Settlement Website or

       may be obtained from the Settlement Administrator and that a Claim Form

       may be submitted online or mailed to the Settlement Administrator. The

       notices shall also inform Class Members that they must submit a timely and valid

       Claim Form to secure a cash payment. The notices shall also provide the

       deadline and procedures for submitting a Claim Form.

80.    Follow-up Email. Fifteen (15) days prior to the Claim Deadline, the Settlement

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Administrator shall provide one follow-up round of e-mail notice to those Class Members who

have not submitted Claims and for whom the Settlement Administrator did not receive a

bounce-back in response to the first round of e-mail notice.

       81.     Settlement Website. The Settlement Administrator shall use the Internet

website, appearing at www.otherossettlement.com, where Class Members can obtain further

information about the terms of the Settlement, their rights, important dates and deadlines, and

related information. Class Members shall also be able to submit a Claim Form electronically

via the Settlement Website. The Settlement Website shall include, in PDF format, the Second

Amended Complaint, this Agreement, the Motion for Preliminary Approval, the Preliminary

Approval Order, the Class Notice, any papers filed in support of Final Approval of the

Settlement, Class Counsel’s application for attorneys’ fees and costs (after it is filed), the Final

Approval Order (after it is entered), and other case documents as agreed upon by the Parties

and/or required by the Court and shall be operational and live as of the date the Settlement

Administrator begins emailing notice. The Settlement Website shall be optimized for mobile

display. The Settlement Administrator shall maintain the Settlement Website as operational

and shall not take it down until two hundred (200) days after the Effective Date. Within five (5)

business days after the Settlement Website is taken down, the Settlement Administrator shall

transfer ownership of the URL for the Settlement Website to SCEA.

       82.     Instructions to Class Members. The Settlement Website will prominently

contain instructions on how Class Members can make a Claim for Settlement Benefits, as well

as instructions on how Class Members can request exclusion from the Class or file an objection.

       83.     Print Notice. To satisfy the Consumer Legal Remedies Act (CLRA) requirement,

notice will run one time per week for four (4) weeks in the California edition of USA Today at

an approximate ad size of 1/4 page.

       84.     CAFA Notice. Within the time prescribed by 28 U.S.C. § 1715, the Settlement

Administrator shall serve notice of this Settlement to appropriate state and federal officials

pursuant to the Class Action Fairness Act (“CAFA”). The Settlement Administrator shall be

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responsible for drafting and preparing the CAFA notice in conformity with 28 U.S.C. § 1715,

and for identifying the appropriate state and federal officials to be notified.

VII.   GENERAL SETTLEMENT ADMINISTRATION

       85.     In addition to disseminating the Class Notice as set forth above in Section VI, the

Settlement Administrator shall be responsible for the following:

               A.      Formatting and distributing (by email) the Short Form Notice approved

       by the Court;

               B.      Creating and maintaining a toll-free number that Class Members can call

       to request a copy of this Agreement, a Claim Form, or any other information concerning

       this Settlement or this Agreement;

               C.      Consulting with SCEA’s Counsel and Class Counsel concerning any

       relevant issues, including (without limitation) distribution of the Class Notice and

       processing of Claims;

               D.      Processing and recording all requests for exclusion;

               E.      Receiving objections and providing them to Class Counsel and SCEA’s

       Counsel in a timely manner;

               F.      Processing and recording Class Members’ Claims;

               G.      Determining, in its sole discretion, exercised in good faith, the validity of

       all Claims in accordance with the requirements set forth in this Agreement. In the event

       that: (1) multiple Claims with the same serial number are submitted; (2) a serial number is

       submitted but the console with that serial number is not associated with the PlayStation

       Network Sign-In ID or PlayStation Network Online ID identified by the Claimant or as

       confirmed by SCEA through its records; (3) a serial number is submitted which raises

       reasonable suspicion concerning the legitimacy of the serial number or the Claim; or (4)

       more than one Claim is submitted from the same household, i.e., the same postal address,

       the Settlement Administrator shall request that the Claimant submit proof of purchase

       or may request other information as may be reasonably necessary to establish that the

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      Claim is legitimate, including but not limited to date and location of purchase. If

      adequate proof of purchase or other requested information is not provided to the

      Settlement Administrator, then the Claim(s) shall be deemed invalid.

              H.         Within ten (10) days after the Claim Deadline, providing to SCEA and

       Class Counsel a list in writing of all individuals who have submitted Claims regardless

       of validity. The list shall include the following information, as available, for each

       Claimant with personally identifying information redacted, including serial number and

       PlayStation Network Sign-In ID or PlayStation Network Online ID, from Class

       Counsel’s list:

                         (i)     First and last name;

                         (ii)    Current mailing address;

                         (iii)   Current email address;

                         (iv)    PlayStation Network Sign-In ID or PlayStation Network Online

              ID, if submitted;

                         (v)     The Fat PS3 serial number, if submitted;

              I.         Preparing, drafting, and serving the CAFA Notice;

              J.         Establishing a Qualified Settlement Fund pursuant to Section 468B(g) of

       the Internal Revenue Code, and regulations promulgated thereunder, for the purpose of

       administering this Settlement;

              K.         Mailing and re-mailing payments to Valid Claimants pursuant to the

       terms of this Agreement;

              L.         Distributing any funds returned to the Qualified Settlement Fund after all

       payments have been made pursuant to paragraphs 71-72, above; and

              M.         Such other tasks as the Parties mutually agree or that the Court orders the

       Settlement Administrator to perform.

       86.    All reasonable costs associated with the administration of this Settlement,

distribution of Class Notice pursuant to this Agreement, and any other tasks assigned to the

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Settlement Administrator by this Agreement, by the Parties’ mutual agreement in writing, or

by the Court, shall be paid from the Settlement Fund. The Settlement Administrator will

agree to cover all notice costs until the Settlement Fund is created. If the Settlement is not

granted Final Approval or the Settlement Fund is not created, SCEA agrees to pay all

reasonable costs associated with the distribution of Class Notice to the Settlement

Administrator.

       87.     Subject to Section XV [Confidentiality] of this Agreement, the Parties agree that

within two hundred and ten (210) days after the Effective Date, the Settlement Administrator

shall destroy any and all Class Members’ personal identifying information that it has received

from SCEA or otherwise in connection with the implementation and administration of this

Settlement.

       88.     Upon completion of the implementation and administration of the Settlement, the

Settlement Administrator shall provide written certification of such completion to counsel for

all Parties.

       89.     The Settlement Administrator shall provide any information or declarations as

requested by the Parties to assist with seeking Preliminary Approval and Final Approval,

including an affidavit about the due process reach of the Settlement notice, in support of Final

Approval. The Parties each represent that he, she, or it will not have any financial interest in

the Settlement Administrator ultimately appointed and otherwise will not have a relationship

with the Settlement Administrator ultimately appointed that could create a conflict of interest.

       90.     The Parties acknowledge and agree that the Settlement Administrator is not an

agent of the Class Representatives, Class Counsel, SCEA, or SCEA’s Counsel and that the

Settlement Administrator is not authorized by this Agreement or otherwise to act on behalf of

the Class Representatives, Class Counsel, SCEA, or SCEA’s Counsel. The Settlement

Administrator is a neutral third-party whose appointment is subject to Court approval.

       91.     If a Class Member requests that the Settlement Administrator and/or its agent

or employee refers him/her to Class Counsel, or if a Class Member requests advice beyond

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merely ministerial information regarding applicable deadlines or procedures for submitting

Claims, or other Settlement related questions for which the Administrator does not have an

approved response, then the Settlement Administrator and/or its agent or employee shall

promptly refer the inquiry to Class Counsel.

VIII. REQUESTS FOR EXCLUSION

       92.     Any Class Member or person legally entitled to act on his or her behalf who

wishes to be excluded from the Class must email or mail a written request for exclusion to the

Settlement Administrator at the email address or mailing address provided in the Class Notice,

postmarked no later than the Opt-out Deadline and specifying that he or she wants to be

excluded from the Class. Such written request for exclusion: (i) must contain the name and

address of the person to be excluded; (ii) if applicable, must contain the name and address of any

person claiming to be legally entitled to submit an exclusion request on behalf of the Class

Member and the basis for such legal entitlement; (iii) must be mailed by First Class U.S. Mail,

proper postage prepaid, to the Settlement Administrator at the specified mailing address; (iv)

must be submitted or postmarked on or before the Opt-out Deadline; (v) should include the

serial number of the Fat PS3 that he or she purchased or the PlayStation Network Sign-In ID or

PlayStation Network Online ID used for that console before April 1, 2010 if available; and (vi)

must be personally signed and clearly indicate that he/she wants to be excluded from the Class.

So-called “mass” or “class” opt-outs shall not be allowed.

       93.     Any Class Member who does not submit a timely and valid written request for

exclusion as provided in paragraph 92 shall be bound by all subsequent proceedings, orders, and

judgments in the Action, including, but not limited to, the Release, even if he or she has

litigation pending or subsequently initiates litigation against SCEA relating to the Released

Claims.

       94.     Any Class Member who timely submits a request for exclusion as provided in

paragraph 92 shall waive and forfeit any and all rights (s)he may have to benefits of the

Settlement if it is approved and becomes final, including monetary relief, and shall waive and

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forfeit any and all rights to object to the fairness, reasonableness, or adequacy of the Settlement,

Class Counsel’s request for Attorneys’ Fees and Costs, and/or the requested Service Awards.

       95.     Not later than ten (10) days after the Opt-out Deadline, the Settlement

Administrator shall provide to Class Counsel and SCEA’s Counsel a complete and final list of

Class Members who submitted requests to exclude themselves from the Class.

IX.    OBJECTIONS TO SETTLEMENT

       96.     Any Class Member or person legally entitled to act on his or her behalf may

object to the fairness, reasonableness, or adequacy of the Settlement, Class Counsel’s request

for Attorneys’ Fees and Costs, and/or the requested Service Awards. To be valid, any

objection must be made in writing and mailed to the Settlement Administrator at the address

provided in the Class Notice, postmarked no later than the Objection Deadline. In addition, any

objection must include the following: (i) the name of this Action; (ii) the objector’s full name,

address, and telephone number; (iii) if applicable, the name and address of any person claiming

to be legally entitled to object on behalf of a Class Member and the basis of such legal

entitlement; (iv) all grounds for the objection; (v) the serial number of the Fat PS3 that he or she

purchased or the PlayStation Network Sign-In ID or PlayStation Network Online ID used for that

console before April 1, 2010 if available; (vi) whether the objector is represented by counsel and,

if so, the identity of such counsel, and all previous objections filed by the objector and their

counsel within the last two years; and (vii) the objector’s signature. Personal information,

including serial number and PlayStation Network Sign-In ID or PlayStation Network Online ID,

will be redacted before any objection is filed with the Court.

       97.     Not later than two (2) days after the Objection Deadline, the Settlement

Administrator shall provide to Class Counsel and SCEA’s Counsel all objections submitted by

Class Members.

       98.     Any Class Member who submits a timely written objection as described in

paragraph 96 may appear at the Fairness Hearing, either in person or through personal counsel

hired at the Class Member’s own personal expense and also may be subject to discovery,

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subject to Court approval.

       99.     Any Class Member who fails to make a timely objection shall waive and forfeit

any and all rights (s)he may have to object and shall be bound by all the terms of this Settlement

Agreement and by all proceedings, orders, and judgments in the Action including the Final

Approval Order and Final Judgment.

       100.    Any Class Member who objects to the Settlement shall nevertheless be entitled

to all benefits of the Settlement if it is approved and becomes final, including monetary relief, if

(s)he is a Valid Claimant.

       101.    Not later than twenty (20) days after the Objection Deadline, Class Counsel

shall file with the Court any and all objections to the Settlement Agreement and/or to Class

Counsel’s Application for Attorneys’ Fees and Costs and Request for Service Awards. All

personally identifying information shall be redacted before objections are filed with the Court.

X.     PRELIMINARY APPROVAL, FINAL APPROVAL AND JUDGMENT

       102.    Proof of the extent and effectiveness of Class Notice shall be provided by the

Settlement Administrator to the Parties no later than fifteen (15) days following the

Objection/Exclusion Deadline.

       103.    On or before August 25, 2017, or any subsequent mutually agreed upon date,

Class Representatives shall file with the Court a motion seeking Preliminary Approval of the

Settlement and asking the Court to enter a Preliminary Approval Order substantially in the

form attached as Exhibit 5 to this Settlement Agreement.

       104.    In connection with the motion for Preliminary Approval, the Parties shall ask

the Court to set a date for the Fairness Hearing as soon as practicable, but in no event no earlier

than sixty (60) days after the Claim Deadline and a date that ensures compliance with the

requirements of 28 U.S.C. § 1715(d).

       105.    Class Counsel shall file a Motion for Final Approval. In connection with the

Motion for Final Approval, the Parties shall ask that the Court enter the Final Approval Order



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and Final Judgment substantially in the form attached to this Settlement Agreement as

Exhibits 2 and 3.

       106.    After entry of the Final Approval Order, the Parties agree that the Court shall

retain jurisdiction to enforce the terms of this Settlement Agreement and the Final Approval

Order and the Final Judgment.

XI.    CONDITIONS IMPACTING FINALITY OF SETTLEMENT

       107.    If more than 300,000 Class Members submit exclusion requests, then SCEA

shall have the option, in its sole discretion, to terminate and withdraw from the Settlement in its

entirety; provided, however, that SCEA must notify the Court in writing that it is exercising

such option within fifteen (15) days after being notified in writing by the Settlement

Administrator that the number of Class Members who have timely requested exclusion

exceeds 300,000.

       108.    The Parties expressly agree that in the event of any of the following conditions:

               (a)     The Court does not conditionally certify the Class for settlement

       purposes;

               (b)     The Court does not preliminarily approve the Settlement;

               (c)     The Court does not finally approve the Settlement;

               (d)     The Court does not enter the Final Approval Order and Final

       Judgment;

               (e)     SCEA withdraws and cancels the Settlement pursuant to paragraph 107;

       or

               (f)     This Settlement does not become final for any reason, including on

       subsequent review by any appellate court(s) in the Action, the Court ultimately rejects,

       modifies, or denies approval of any portion of this Settlement Agreement that either

       Class Representatives or SCEA reasonably determines is material, including, without

       limitation, the terms of relief, the provisions relating to notice, the definition of the Class,

       and/or the scope and terms of the Released Claims and Released Parties, then Class

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       Representatives and SCEA each has the right to withdraw from and terminate this

       Agreement. If the Court indicates that the Settlement will not be approved unless

       changes are made, then the Parties will attempt in good faith to reach an agreement as to

       any such changes before exercising their option under this Section to withdraw from this

       Agreement. Notwithstanding the foregoing, neither the denial of, an appeal of, a

       modification of, nor a reversal on appeal of any Fee and Expense Award or any Service

       Award shall constitute grounds for cancellation or termination of this Settlement

       Agreement.

       109.    Method for Invoking Right to Terminate. Other than as provided in paragraph
108, above, any Party exercising its right to terminate and withdraw must exercise this option as

provided under paragraph 108, above, by a signed writing served on the other Party no later than

twenty-one (21) days after receiving notice of the event prompting the termination. The Parties

may reasonably extend this twenty-one (21) day period by written agreement if they are

attempting in good faith to reach an agreement regarding changes proposed by the Court

pursuant to paragraph 108, above.

       110.    In the event that a terminating party exercises its option to withdraw from and

terminate this Settlement Agreement pursuant to paragraph 108:

               A.     This Settlement Agreement and the Settlement proposed herein shall

       be null and void and shall have no force or effect and neither Party to this Settlement

       Agreement shall be bound by any of its terms, except as otherwise specifically provided

       for herein;

               B.     The Parties will petition to have any stay orders that are entered pursuant

       to this Settlement Agreement lifted;

               C.     This Settlement Agreement and all of its provisions, and all

       negotiations, statements, and proceedings relating to it, shall be without prejudice to the

       rights of SCEA, Class Representatives, or any Class Member, all of whom shall be

       restored to their respective positions as they existed immediately before the execution of

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       this Settlement Agreement, except that the Parties shall cooperate in requesting that

       the Court set a new scheduling order such that neither Party’s substantive or procedural

       rights is prejudiced by the attempted Settlement;

              D.         The Released Parties, as defined herein, expressly and affirmatively

       reserve all defenses, arguments, and motions as to all claims that have been or might

       later be asserted in the Action, including, without limitation, SCEA’s argument that the

       Action may not proceed on a class basis;

              E.         Class Representatives and all other Class Members, on behalf of

       themselves and their heirs, assigns, executors, administrators, predecessors, and

       successors, expressly and affirmatively reserve and do not waive any motions as to, and

       arguments in support of, all claims, causes of actions, or remedies that have been or

       might later be asserted in the Action including, without limitation, any argument

       concerning class certification, consumer fraud, and damages;

              F.         This Settlement Agreement, the fact of its having been made, the

       negotiations leading to it, any informal discovery or action taken by a Party or Class

       Member pursuant to or in connection with this Settlement Agreement, or any

       documents or communications pertaining to this Settlement Agreement shall not be

       admissible or entered into evidence for any purpose whatsoever in the Action or in any

       other proceeding between the Parties, other than to enforce the terms of this Settlement

       Agreement; provided, however, that SCEA may rely on such evidence to defend itself

       in any other action not brought on behalf of the Class and relating to the subject matter

       of this Action.

XII.   ATTORNEYS’ FEES, COSTS AND SERVICE AWARDS

       A.     FEE AND EXPENSE AWARD

       111.   Class Counsel intends to request that the Court award them Attorney’s Fees

and Costs which will be paid from the Settlement Funds.

       112.   Payment of the Fee And Expense Award to Class Counsel identified pursuant to

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paragraph 111, above, shall constitute full satisfaction by SCEA of any obligation to pay any

amounts to any person, attorney, or law firm for attorneys’ fees, expenses, or costs in the Action

incurred by any attorney on behalf of the Class Representatives, the Class Members, or the

Settlement Class and shall relieve SCEA, SCEA’s Counsel, and the Released Parties of any

other claims or liability to any other attorney or law firm for any attorneys’ fees, expenses,

and/or costs to which any of them may claim to be entitled on behalf of the Class

Representatives, the Class Members, and/or the Settlement Class for any Released Claim.

       113.    Neither Class Representatives nor the Class shall be responsible for any portion

of SCEA’s own legal fees, costs, and expenses incurred in the Action.

       B.      SERVICE AWARDS

       114.    Class Counsel intends to request that the Court approve a Service Award for

each of the Class Representatives in an amount not to exceed Three Thousand Five Hundred

dollars ($3,500) each. Any Service Awards approved by the Court will be paid out of the

Settlement Funds.

       115.    By the Payment Date, the Settlement Administrator shall release and deliver to

Class Counsel, on behalf of the Class Representatives, any Service Award approved by the

Court, provided that each of the Class Representatives has executed the General Release

substantially in the form attached hereto as Exhibit 8.

       116.    Any Service Award paid to the Class Representatives shall be reported on an

IRS Form 1099 (i.e., as “Other Income”) and provided to the Class Representatives and

applicable governmental authorities.

XIII. RELEASE

       117.    As of the Effective Date, the Class Representatives and the Settlement Class,

on behalf of themselves and their heirs, assigns, executors, administrators, predecessors, and

successors, hereby fully release and forever discharge the Released Parties and further expressly

agree that they shall not now or thereafter institute, maintain, or assert against the Released

Parties, either directly or indirectly, on their own behalf, or on behalf of any class or other

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person or entity, any action, regulatory action, arbitration, or court or other proceeding of any

kind asserting causes of action, claims, damages, equitable, legal and administrative relief,

interest, demands, rights or remedies, including, without limitation, claims for injunctive relief,

declaratory relief, damages, mental anguish, unpaid costs, penalties, liquidated damages, punitive

damages, interest, attorneys’ fees, litigation costs, restitution, disgorgement, or equitable relief

against the Released Parties, whether based on federal, state, or local law, statute, ordinance,

regulation, the Constitution, contract, common law, or any other source that arise out of or in any

way relate to the subject matter of the Action and the Released Claims and that were or could

have been alleged in the Action.

       118.    Unless otherwise specified in this Agreement, nothing in this release shall be

deemed to alter any presently existing contractual rights or obligations that a current PlayStation

Network account holder or Released Party may have against the other that arises out of current

use of or access to the PlayStation Network.

       119.    Solely with respect to any and all Released Claims, upon Final Approval and

Final Judgment, the Class Representatives and the Settlement Class shall expressly waive

and relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of

Section 1542 of the California Civil Code and any and all provisions, rights, and benefits of any

similar statute or law of California or of any other jurisdiction as to all known or unknown

claims as against the Released Parties. Section 1542 provides:

               A general release does not extend to claims which the creditor

               [in this case, the Class Member] does not know or suspect to

               exist in his or her favor at the time of executing the release,

               which if known by him or her must have materially affected his

               or her settlement with the debtor [in this case, the Released

               Parties].

       To the extent that California law or other similar federal or state law may apply, the

Class Representatives and the Settlement Class hereby agree that the provisions of Section

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1542 and all such similar federal or state laws, rights, rules, or legal principles, to the extent they

are found to be applicable herein, are hereby knowingly and voluntarily waived and relinquished

by the Class Representatives and the Settlement Class in connection with this release of the

Released Claims.

       120.    The Class Representatives and the Settlement Class expressly agree that this

release is, and may be raised as, a complete defense to and precludes any claim, action, or

proceeding encompassed by the release against the Released Parties. It is the intention of the

Class Representatives in executing this release on behalf of themselves and the Settlement

Class to fully, finally, and forever settle and release all matters and all claims relating to the

Released Claims in every way.

       121.    Without limiting the foregoing, nothing in this Agreement shall release, preclude,

or limit any claim or action by the Parties to enforce the terms of this Agreement.

XIV. NONDISPARAGEMENT

       122.    Each of the Class Representatives and Class Counsel agrees that he, she, or they

will not disparage SCEA or any of the Released Parties in any manner potentially harmful to

them or their business, business reputation, or personal reputation related to the Released

Claims. This agreement not to disparage includes, but is not limited to, publishing disparaging

statements (whether anonymously or for ascription) on the web, in blogs, in chat rooms, in

emails, or in any other electronic means of transmitting information.

XV.    CONFIDENTIALITY

       123.    Plaintiffs and Class Counsel agree that the terms of this Agreement will remain

confidential until the Motion for Preliminary Approval is filed. Plaintiffs and Class Counsel

further agree that they will not make any statements or comments, written or oral, about this

Settlement or Settlement Agreement to any person other than to Class Members in any way

other than as provided in this Settlement Agreement, the Class Notice, on the Settlement

Website, or as otherwise agreed upon by SCEA in writing in each instance. Notwithstanding

the terms of this provision, Class Counsel may display a link to the Settlement Website on their

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respective firms’ websites and reference this Settlement as evidence of Class Counsel’s

professional qualifications in resumes, curriculum vitae, and motions for appointment as class

counsel pursuant to Federal Rule of Civil Procedure 23 and similar state rules of procedure, but

only to state that: (i) it was a nationwide consumer class; (ii) the general allegations involved in

the Action; and (iii) the general terms of the Settlement.

        124.    The Parties acknowledge that confidential documents produced in the course of

the Action, whether in response to formal discovery or informally for purposes of mediation, are

subject to a Stipulated Protective Order. The Parties agree to cooperate and to work with one

another to protect any confidential materials produced in discovery in the Action, including but

not limited to, promptly complying with all aspects of the Stipulated Protective Order regarding

such information and stipulating that any confidential information submitted, whether in the past

or in the future, to any court will be sealed.

XVI. MISCELLANEOUS

        125.    The Class Representatives and Class Counsel agree not to issue any press

release, unless mutually agreed by the Parties, at any time related to the Settlement, the lawsuit

or any order preliminarily or finally approving the Agreement.

        126.    The Parties, their successors and assigns, and their attorneys, agree to use

reasonable efforts to cooperate with one another in seeking Court approval of this Agreement

and to effectuate this Agreement.

        127.    The Parties agree to cooperate in the settlement administration process and

implementation of the Settlement and to make all reasonable efforts to control and minimize the

costs and expenses incurred in the administration and implementation of the Settlement.

        128.    Each signatory to this Agreement hereby warrants that he or she has the authority

to execute this Agreement and thereby bind the respective Party. Each Class Representative

warrants and represents that he is the sole and lawful owner of all rights, title, and interest in and

to all of the Released Claims and that (s)he has not heretofore voluntarily, by operation of law

or otherwise, sold, assigned, or transferred or purported to sell, assign, or transfer to any other

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person or entity any Released Claims or any part or portion thereof.

       129.    Class Representatives represent and certify that: (1) they have agreed to serve as

representatives of the Class; (2) they are willing, able, and ready to perform all of the duties and

obligations of representatives of the Class; (3) they have read the operative complaint or have

had the contents of such pleadings described to them; (4) they are generally familiar with the

results of the fact-finding undertaken by Class Counsel; (5) they have read this Agreement or

have received a detailed description of it from Class Counsel and they have agreed to its terms;

(6) they have consulted with Class Counsel about the Action and this Settlement Agreement

and the obligations imposed on them as representatives of the Class; and (7) they shall remain

and serve as representatives of the Class until the terms of the Agreement are effectuated, this

Agreement is terminated in accordance with its terms, or the Court at any time determines that

said Plaintiffs cannot represent the Class.

       130.    The terms of this Agreement shall inure to the benefit of, and be binding upon,

the Parties and their respective heirs, legal representatives, executors, administrators, successors,

and assigns upon the Effective Date.

       131.    This Agreement and its attachments constitute the entire agreement of the

Parties with respect to the matters discussed herein and supersede all prior or contemporaneous

oral or written understandings, negotiations, agreements, statements, or promises. In executing

this Agreement, the Parties acknowledge that they have not relied upon any oral or written

understandings, negotiations, agreements, statements, or promises that are not set forth in this

Agreement. The Parties also acknowledge and agree that each has been represented by its own

counsel with respect to the negotiating and drafting of this Settlement and this Agreement.

       132.    All exhibits to this Agreement are integrated herein and are to be considered

terms of this Agreement as if fully set forth herein.

       133.    This Agreement may not be amended or modified in any respect except by a

written instrument duly executed by all of the Parties to this Agreement or their counsel. The

Parties agree that nonmaterial amendments or modifications to this Agreement may be made in

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writing after Preliminary Approval without the need to seek the Court’s approval.

       134.    Without further order of the Court, the Parties may agree in writing to

reasonable extensions of time to carry out any of the provisions of this Agreement or the

Preliminary Approval Order.

       135.    This Agreement may be executed in one or more counterparts, each of which

shall be an original, and this Agreement is effective upon execution of at least one counterpart

by each Party to this Agreement.

       136.    Nothing in this Agreement may be construed as, or may be used as, an admission

by the Class Representatives that any of their claims are without merit.

       137.    Nothing in this Agreement may constitute, may be construed as, or may be used

as an admission by SCEA of any fault, wrongdoing, or liability whatsoever or that class

certification is appropriate. SCEA continues to deny all liability and all of the claims,

contentions, and each and every allegation made by the Class Representatives in the Action.

       138.    The Parties expressly acknowledge and agree that this Settlement Agreement

and its exhibits, along with all related drafts, motions, pleadings, conversations, negotiations, and

correspondence, constitute an offer of compromise and a compromise within the meaning of

Federal Rule of Evidence 408 and any equivalent rule of evidence in any state. In no event shall

this Settlement Agreement, any of its provisions, or any negotiations, statements, or court

proceedings relating to its provisions in any way be construed as, offered as, received as, used as,

or deemed to be evidence of any kind in the Action, any other action, or in any judicial,

administrative, regulatory, or other proceeding, except in a proceeding to enforce this Settlement

Agreement or the rights of the Parties or their counsel. Without limiting the foregoing, neither

this Settlement Agreement nor any related negotiations, statements, or court proceedings shall

be construed as, offered as, received as, used as, or deemed to be evidence or an admission or

concession of any liability or wrongdoing whatsoever on the part of any person or entity,

including, but not limited to, the Released Parties, Class Representatives, the Class, or the

Settlement Class or as a waiver by the Released Parties, Class Representatives, or the Class

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of any applicable privileges, claims, or defenses.

       139.    Neither Class Counsel nor SCEA’s Counsel intends anything contained herein to

constitute legal advice regarding the tax consequences of any amount paid hereunder, nor shall it

be relied upon as such.

       140.    In the event of a conflict between this Agreement and any other document

prepared pursuant to the Settlement, the terms of this Agreement will supersede and control.

       141.    Any failure by any Party to insist upon the strict performance by any other Party

of any provision of this Agreement shall not be deemed a waiver of any provision of this

Agreement and such Party, notwithstanding such failure, shall have the right thereafter to insist

upon the specific performance of any and all of the provisions of this Agreement.

       142.    This Agreement has been, and shall be construed to have been, drafted by all the

Parties to it and the Parties agree that any rule which construes ambiguities against the drafter

shall have no force or effect.

       143.    The Parties agree that this Agreement was drafted and executed in the State of

California and that the laws of the State of California shall govern its enforcement without regard

to its choice of law principles. The Parties further agree that any action relating to or arising out

of this Agreement, including an action to enforce or void any of its terms or to rescind it in its

entirety shall be venued in state or federal court, in the Northern District of California. All

Parties consent to personal jurisdiction in courts within the Northern District of California.

XVII. LIST OF EXHIBITS

       Exhibit 1 – Claim Form

       Exhibit 2 – Form of Final Approval Order

       Exhibit 3 – Form of Final Judgment

       Exhibit 4 – Form of Long Form Class Notice

       Exhibit 5 – Form of Preliminary Approval Order

       Exhibit 6 – Form of Short Form Notice

       Exhibit 7 – List of Fat PS3 model numbers

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Exhibit 8 – General Release




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DATED:
                                  Anthony Ventura

DATED:
                                  Jason Baker

DATED:
                                  James Girardi

DATED: August, 25, 2017
                                  Derrick Alba

DATED:
                                  Jonathan Huber

DATED:                            Sony Interactive Entertainment America LLC

                                  By
                                  Its




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DATED:
                                 Anthony Ventura

DATED:
                                 Jason Baker

DATED:
                                 James Girardi

DATED:
                                 Derrick Alba

DATED:
                                 Jonathan Huber

DATED:                           Sony Interactive Entertainment America LLC

                                 By
                                 Its




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Attorneys for Defendant SONY COMPUTER
ENTERTAINMENT AMERICA LLC,
currently known as SONY INTERACTIVE
ENTERTAINMENT AMERICA LLC




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   EXHIBIT 1
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                             CONSUMER CLAIM FORM
                       In re Sony PS3 “Other OS” Litigation
            United States District Court, Northern District of California
                           Case No. 10-CV-01811-YGR

DATED: _________________, 2017

PLEASE BE AWARE THAT THE DEADLINE FOR SUBMITTING CLAIMS IS
______, 2017. CLAIMS SUBMITTED AFTER THIS DATE WILL NOT BE
ACCEPTED.


TO: All persons in the United States who purchased a Fat PS3 in the United States
between November 1, 2006 and April 1, 2010 from an authorized retailer for family,
personal, and/or household use and who:
       (1) used the Other OS functionality; or
       (2) knew about the Other OS functionality; or
       (3) contend or believe that he or she lost value or desired functionality or was
otherwise injured as a consequence of Firmware Update 3.21 and/or the disablement of
Other OS functionality in the Fat PS3.

You need to meet only one of the above requirements to submit a claim.

          PLEASE READ THIS ENTIRE CLAIM FORM CAREFULLY

TO BE ELIGIBLE TO RECEIVE A PAYMENT, YOUR COMPLETED CLAIM
FORM MUST BE POSTMARKED OR SUBMITTED ONLINE ON OR BEFORE
____________. CLAIMS SUBMITTED AFTER THIS DATE WILL NOT BE
ACCEPTED.

ELIGIBILITY AND INSTRUCTIONS

 IT IS IMPORTANT TO FOLLOW THESE INSTRUCTIONS CAREFULLY OR
                 YOUR CLAIM MAY BE REJECTED.
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1. You are a Class Member if you purchased a Fat PS3 in the United States between
November 1, 2006 and April 1, 2010 from an authorized retailer for family, personal,
and/or household use and you: (1) used the Other OS functionality; (2) knew about the
Other OS functionality; or (3) contend or believe that you lost value or desired
functionality or were otherwise injured as a consequence of Firmware Update 3.21 and/or
the disablement of Other OS functionality in the Fat PS3. You are eligible to receive a
cash payment of up to $65 if you submit a valid and complete Claim Form. Because
settlement funds will be distributed to Class Members on a pro rata basis, the exact dollar
amount that each Class Member will receive will depend on the total number of valid
claims that are submitted.

2. In order to receive a payment, you will have to attest, under penalty of perjury, that
you : (1) used the Other OS functionality; or (2) knew about the Other OS functionality;
or (3) contend or believe that you lost value or desired functionality or were otherwise
injured as a consequence of Firmware Update 3.21 and/or the disablement of Other OS
functionality in the Fat PS3.

3. You will also have to provide at least one of the following: (1) your PS3 serial
number; or (2) the PlayStation Network Sign-In ID (email address) you used to create a
PlayStation account associated with your Fat PS3; (3) or the PlayStation Network Online
ID (the handle you chose for communicating and game play on the PlayStation Network)
associated with the PlayStation account you used with your Fat PS3.

4. If you previously submitted a claim form in the earlier settlement in this matter, you
will automatically be included and do not need to submit another claim form. If you are
not sure whether you submitted a claim or have questions whether it will be honored,
please contact the Settlement Administrator at _________. If you previously submitted a
claim form and your address have changed since your submission, please inform the
claims administrator of your new address.

5.     Claim Forms that are incomplete or untimely will be considered invalid and
will prevent you from receiving payment.

6. If you need any help to determine whether you are eligible to submit a consumer
claim, please contact the Settlement Administrator at _______ or by email at
www.______________.com.

7.    If you are a Class Member, complete the attached Claim Form or fill in the Claim
Form online. Include all required information on your Claim Form.

8.     The Claims Administrator has discretion that will be exercised in good faith to
determine whether your Claim Form is complete and supports your eligibility for a
settlement payment in accordance with the requirements of the Settlement.

9.     To receive a payment, you must include your current mailing address on the
Claim Form.
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10.      If you move after submitting your Claim Form, please send the Settlement
Administrator your new address or contact the Settlement Administrator at the following
toll-free number: _________. It is your responsibility to keep a current address on file
with the Settlement Administrator.

11.    The Settlement Administrator will use the email address that you provide on your
Claim Form to communicate with you if communications are necessary.

12.    A claim form can also be submitted online at: _______________.
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CLAIM FORM

Claimant Information:

Name:

Street Address:

City:                                 State:                  Zip Code

Daytime telephone:

Email address:

Provide at least ONE of the following:

        Fat PS3 Serial Number:

        PlayStation Network Sign-In ID:

        PlayStation Network Online ID:

If you are submitting this Claim Form on behalf of someone else, please explain why you
have the right to do so.

_____________________________________________________________________

NOTE: The Claims Administrator may audit any and all claims.

Attestation

By signing below, you are signing under penalty of perjury. Signing under penalty of
perjury means that the information you have provided in the Claim Form is true. It is a
crime to submit a false Claim Form and sign under the penalty of perjury.

I declare under penalty of perjury that I purchased a Fat PS3 in the United States between
November 1, 2006 and April 1, 2010 from an authorized retailer for family, personal
and/or household use and that I: (1) used the Other OS functionality; (2) knew about the
Other OS functionality; or (3) contend or believe that I lost value or desired functionality
or that I was otherwise injured as a consequence of Firmware Update 3.21 and/or the
disablement of Other OS functionality in the Fat PS3.

I further declare that all of the information I have submitted in this Claim Form is true
and correct.
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Executed this __ day of ____________ [month] 2017 at _________________________
[City and State].
                                   Print name
Checklist

Please make sure that you have:

1.     Signed the Certification above.
2.     Included your PS3 serial number, or PlayStation Network Sign-In ID, or
PlayStation Network Online ID.
3.     Kept a copy of your completed Claim Form for your files.
4.     E-filed or mailed your Claim Form before _______________.

If submitting by mail, mail your Claim Form to:

       Other OS Settlement Administrator
       [______________________]

      BE SURE TO SIGN THIS FORM ABOVE AND SUBMIT IT TO THE
     SETTLEMENT ADMINISTRATOR POSTMARKED OR SUBMITTED
             ELECTRONICALLY NO LATER THAN [DATE].
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   EXHIBIT 2
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16   Interim Co-Lead Counsel for Plaintiffs and the Proposed Class

17                              UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19
                                                    Case No.: 10-CV-01811-YGR
20    In re SONY PS3 “OTHER OS”
      LITIGATION                                    [PROPOSED] ORDER GRANTING FINAL
21                                                  APPROVAL OF CLASS ACTION
                                                    SETTLEMENT
22

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                                                           [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                                         OF CLASS ACTION SETTLEMENT
                                                                              CASE NO. 10-CV-01811-YGR
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 1          This matter came before the Court for hearing pursuant to the following: (1) the Court’s

 2   Order Granting Renewed Motion for Preliminary Approval dated ________________; (2)

 3   Plaintiffs’ Renewed Motion for Attorneys’ Fees and Costs and for Service Awards for the

 4   Plaintiffs dated ________________; (3) Plaintiffs’ Renewed Motion for Final Approval of

 5   Class Action Settlement dated ________________; and (4) the Stipulation of Class Action

 6   Settlement and Release executed on September 1, 2017 (the “Settlement”), entered into by the

 7   Parties to settle and finally resolve the above-captioned class action lawsuit (the “Action” or the

 8   “Class Action Lawsuit”). Due and adequate notice having been given to the Class of the

 9   proposed Settlement and the pending motions, as required by the Court’s orders, and upon

10   consideration of all papers filed and proceedings had herein, IT IS HEREBY ORDERED,

11   ADJUDGED AND DECREED as follows:

12          1.      Capitalized, bolded terms not otherwise defined herein shall have the same

13   meaning as set forth in the Settlement, attached hereto as Exhibit A.

14          2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, and has

15   personal jurisdiction over the Parties. Venue is proper in this District.

16          3.      The “Class,” for purposes of this Order, shall mean:

17          [A]ny and all persons in the United States who purchased a Fat PS3 in the United
18          States between November 1, 2006 and April 1, 2010 from an authorized retailer
            for family, personal, and/or household use and who: (1) used the Other OS
19          functionality; (2) knew about the Other OS functionality; or (3) contends or
            believes that he or she lost value or desired functionality or was otherwise injured
20          as a consequence of Firmware Update 3.21 and/or the disablement of Other OS
            functionality in the Fat PS3.
21

22          4.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby
23   certifies for settlement purposes only the Class, which it previously provisionally certified.
24   Excluded from the Class are: (a) any persons who are employees, directors, officers, and agents
25   of SCEA or its subsidiaries and affiliated companies; (b) any persons who timely and properly
26   exclude themselves from the Settlement; and (c) the Court, the Court’s immediate family, and
27   Court staff.
28          5.      The Court finds that the notice provisions set forth under the Class Action
                                                               [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                      1                      OF CLASS ACTION SETTLEMENT
                                                                                  CASE NO. 10-CV-01811-YGR
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 1   Fairness Act, 28 U.S.C. § 1715, were complied with in this Action.

 2          6.       The Court finds that the program for disseminating notice to the Class provided

 3   for in the Settlement, and previously approved and directed by the Court (the “Notice

 4   Program”), has been implemented by the Settlement Administrator and the Parties, and that

 5   such Notice Program, including the approved forms of notice, constitutes the best notice

 6   practicable under the circumstances and fully satisfied due process, the requirements of Rule 23

 7   of the Federal Rules of Civil Procedure and all other applicable laws.

 8          7.       The Court reaffirms that this Action is properly maintained as a class action, for

 9   settlement purposes only, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(3), and 23(e),

10   and that Class Counsel and the Plaintiffs, as Class Representatives, fairly and adequately

11   represent the interests of the Class. In support of its conclusion that this Action is properly

12   maintained as a class action, for settlement purposes, the Court finds as follows:

13          (a) the Settlement Class Members are so numerous that joinder of all members is

14          impracticable;

15          (b) there are questions of law and fact common to the Settlement Class Members, and

16          these questions predominate over any questions affecting individual Settlement Class

17          Members;

18          (c) the named Class Representatives’ claims are typical of the claims of the Settlement

19          Class Members;

20          (d) the named Class Representatives and Class Counsel have adequately represented
21          and will continue to adequately represent and protect the interests of the Settlement
22          Class;
23          (e) class-wide treatment of the disputes raised in this Action is superior to other available

24          methods for adjudicating the controversy before this Court; and

25          (f) manageability issues do not prevent certification for settlement purposes because there

26          will be no trial.
27          8.       The Court further finds that a full and fair opportunity has been afforded to the

28   Class Members to opt out, to object and to participate in the hearing convened to determine
                                                                [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                      2                       OF CLASS ACTION SETTLEMENT
                                                                                   CASE NO. 10-CV-01811-YGR
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 1   whether the Settlement should be given final approval. Accordingly, the Court hereby

 2   determines that all members of the Settlement Class are bound by this Final Approval Order.

 3          9.      The Court finds that the Settlement, including the exhibits thereto, is fair,

 4   reasonable and adequate to the Settlement Class, is in the best interests of the Settlement Class,

 5   has been entered into in good faith and should be and hereby is fully and finally approved

 6   pursuant to Federal Rule of Civil Procedure 23. The Settlement represents a fair resolution of

 7   all claims asserted on behalf of Plaintiffs, as Class Representatives, and the Settlement Class

 8   in this Action, and fully and finally resolves all such claims. SCEA and each member of the

 9   Settlement Class shall be bound by the Settlement, including the Release set forth in Section

10   XIII of the Settlement, and by this Order and the Final Judgment entered in connection with

11   this Order.

12          10.     After considering (1) the strength of the Plaintiffs’ case; (2) the risk, expense,

13   complexity, and likely duration of further litigation; (3) the risk of maintaining class action status

14   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed

15   and the stage of the proceedings; (6) the experience and views of counsel; and (7) the reaction of

16   the Class Members to the proposed Settlement, the Court hereby finds that the Settlement is

17   in all respects fair, reasonable, and adequate and in the best interests of the Settlement Class. In

18   addition, the Court finds that there was no collusion in connection with the Settlement, that the

19   Settlement was the product of informed and arm’s-length negotiations among competent

20   counsel, and that the record is sufficiently developed to have enabled the Class Representatives
21   and SCEA to adequately evaluate and consider their respective positions. Accordingly, the
22   Court hereby finally and unconditionally approves the Settlement.

23          11.     Class Counsel are hereby awarded attorneys’ fees in the amount of

24   $________________, and reimbursement of their out-of-pocket litigation costs in the amount of

25   $________________, both of which to be paid out of the Settlement Fund. The Court finds

26   these amounts to be fair and reasonable and fairly compensates Class Counsel for their
27   contributions to the prosecution of this Action and the Settlement.

28          12.     The Court hereby awards service awards in the amount of $________________
                                                                [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                       3                      OF CLASS ACTION SETTLEMENT
                                                                                   CASE NO. 10-CV-01811-YGR
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 1   each, to each of the Plaintiffs as Class Representatives, to compensate them for their

 2   commitments and efforts on behalf of the Class in this Action. These service awards will be

 3   paid out of the Settlement Fund.

 4          13.     The Parties are to bear their own costs, except as awarded by this Court in this

 5   Final Approval Order.

 6          14.     In its Order Granting Plaintiff’s Renewed Motion for Preliminary Approval (Dkt.

 7   No. ___), the Court directed the parties to appoint a Settlement Administrator. The

 8   Settlement Administrator shall continue to perform those duties and responsibilities that

 9   remain under the Settlement and this Final Approval Order.

10          15.     The Parties and Settlement Administrator are hereby directed to implement this

11   Final Approval Order and the Settlement in accordance with the terms and provisions thereof,

12   including the processing and payment of Claims.

13          16.     As of the Effective Date, the Class Representatives and the Settlement Class,

14   on behalf of themselves and their heirs, assigns, executors, administrators, predecessors, and

15   successors, shall be deemed to have, and by operation of this Order and the Final Judgment

16   entered in connection with this Order shall have, fully released and forever discharged the

17   Released Parties from all Released Claims, as more fully set forth in Section XIII of the

18   Settlement, including that the Class Representatives and the Settlement Class shall fully

19   release and forever discharge the Released Parties and further expressly agree that they shall

20   not now or thereafter institute, maintain, or assert against the Released Parties, either directly or
21   indirectly, on their own behalf, or on behalf of any class or other person or entity, any action,
22   regulatory action, arbitration, or court or other proceeding of any kind asserting causes of action,
23   claims, damages, equitable, legal and administrative relief, interest, demands, rights or remedies,

24   including, without limitation, claims for injunctive relief, declaratory relief, damages, mental

25   anguish, unpaid costs, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,

26   litigation costs, restitution, disgorgement, or equitable relief against the Released Parties,
27   whether based on federal, state, or local law, statute, ordinance, regulation, the Constitution,

28   contract, common law, or any other source that arise out of or in any way relate to the subject
                                                                [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                      4                       OF CLASS ACTION SETTLEMENT
                                                                                   CASE NO. 10-CV-01811-YGR
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 1   matter of the Action and the Released Claims and that were or could have been alleged in the

 2   Action. Released Claims include, but are not limited to, claims arising under the common laws

 3   of all fifty (50) states concerning: (a) whether SCEA falsely advertised or marketed the Fat

 4   PS3’s Other OS functionality; (b) the disabling of the Other OS functionality in the Fat PS3;

 5   (c) the issuance of Firmware Update 3.21; and/or (d) whether the System Software License

 6   Agreement and/or PlayStation Network Terms of Service and User Agreement enable SCEA to

 7   alter, remove or modify features and/or functions of the Fat PS3.

 8          17.      As of the Final Settlement Date, Plaintiffs and, by operation of law, each

 9   member of the Settlement Class shall further be deemed to have expressly waived and released

10   any and all provisions, rights and benefits conferred by Section 1542 of the California Civil

11   Code or similar laws of any other state or jurisdiction.

12          18.      The Court orders that, upon the Effective Date, the Settlement shall be the

13   exclusive remedy for any and all Released Claims of the Releasing Parties.

14          19.      The Court hereby dismisses this Action with prejudice, and without fees or costs

15   except as provided in the Settlement Agreement and this Order. Plaintiffs and all members of

16   the Settlement Class are hereby permanently barred and enjoined from commencing, pursuing,

17   maintaining, enforcing or prosecuting, either directly or indirectly, any Released Claims in any

18   judicial, administrative, arbitral or other forum, against any of the Released Parties, provided

19   that this injunction shall not apply to the claims of any Class Members who have timely and

20   validly requested to be excluded from the Class. This permanent bar and injunction is necessary
21   to protect and effectuate the Settlement, this Order and this Court’s authority to effectuate the
22   Settlement, and is ordered in aid of this Court’s jurisdiction and to protect its judgments.

23          20.      The Released Parties may file this Final Approval Order in any other action

24   that may be brought against them in order to support a defense or counterclaim based on

25   principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or

26   reduction, or any other theory of claim preclusion or issue preclusion or similar defense or
27   counterclaim.

28          21.      Nothing in this Order or in the Final Judgment entered in connection with this
                                                                [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                      5                       OF CLASS ACTION SETTLEMENT
                                                                                   CASE NO. 10-CV-01811-YGR
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 1   Order shall preclude any action to enforce the terms of the Settlement.

 2          22.     Without affecting the finality of this Order in any way, the Court hereby retains

 3   continuing jurisdiction over: (a) all matters relating to the modification, interpretation,

 4   administration, implementation, effectuation and enforcement of the Settlement; (b) further

 5   proceedings, if necessary, on Plaintiffs’ Renewed Motion for Attorneys’ Fees and Costs and

 6   for Service Awards for the Plaintiffs; and (c) the Parties, Class Counsel and members of the

 7   Settlement Class for the purpose of administering, supervising, construing and enforcing this

 8   Order and the Settlement in accordance with its terms.

 9          23.     Neither this Order, the Final Judgment entered in connection with this Order,

10   nor the Settlement (nor any other document referred to herein, nor any action taken to carry out

11   this Order or the accompanying Final Judgment) shall be construed as or used as an admission

12   or concession by or against SCEA or Released Parties of the validity of any claim or defense or

13   any actual or potential fault, wrongdoing, or liability whatsoever. The Settlement and this

14   resulting Final Approval Order simply represent a compromise of disputed allegations.

15          24.     Without further order of the Court, the Parties may agree to reasonably

16   necessary extensions of time to carry out any of the provisions of the Settlement and to make

17   other non-material modifications, in implementing the Settlement, that are not inconsistent with

18   this Order.

19          25.     The Clerk shall enter Final Judgment, consistent with this Order, forthwith.

20          26.     Class Counsel shall serve a copy of this Final Approval Order on all named
21   parties or their counsel and the Settlement Administrator immediately upon receipt and the
22   Settlement Administrator shall post a copy of this Final Approval Order on the Settlement

23   Website immediately upon receipt.

24          IT IS SO ORDERED.

25
     Dated: ____________________                     By: _____________________________
26                                                   HON. YVONNE GONZALEZ ROGERS
27                                                   District Judge
                                                     U.S. District Court, Northern District of California
28
                                                                 [PROPOSED] ORDER GRANTING FINAL APPROVAL
                                                       6                       OF CLASS ACTION SETTLEMENT
                                                                                    CASE NO. 10-CV-01811-YGR
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   EXHIBIT 3
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16   Interim Co-Lead Counsel for Plaintiffs and the Proposed Class

17                              UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19
                                                    Case No. 10-CV-01811-YGR
20    In re SONY PS3 “OTHER OS”
      LITIGATION                                    [PROPOSED] FINAL JUDGMENT
21

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                                                                      [PROPOSED] FINAL JUDGMENT
                                                                         CASE NO. 10-CV-01811-YGR
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 1          Pursuant to the Court’s Final Approval Order (“Order”) dated _____________, the Court

 2   hereby ORDERS that final judgment in this matter is entered in accordance with the Order and

 3   the Settlement it incorporates (the Order, which attaches the Settlement, is attached hereto as

 4   Exhibit A). The Court will have continuing jurisdiction over the Parties, the Action, and the

 5   Settlement for purposes of enforcing the Settlement and resolving disputes under the Settlement

 6   Agreement. This document constitutes a judgment and a separate document for purposes of

 7   Federal Rule of Civil Procedure 58(a).

 8          Only those persons listed in Exhibit B to this Final Judgment have submitted timely and

 9   valid requests for exclusion from the Settlement Class and are therefore not bound by this Final

10   Judgment and the accompanying Final Approval Order.

11

12          IT IS SO ORDERED.

13

14   Dated: ____________________                  By: __________________________________
                                                  HON. YVONNE GONZALEZ ROGERS
15                                                District Judge
                                                  U.S. District Court, Northern District of California
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                                                    -1-                       [PROPOSED] FINAL JUDGMENT
                                                                                 CASE NO. 10-CV-01811-YGR
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   EXHIBIT 4
              Case 4:10-cv-01811-YGR Document 361 Filed 06/08/18 Page 77 of 113




               IF YOU BOUGHT A PLAYSTATION® 3 CONSOLE BETWEEN
              NOVEMBER 1, 2006, AND APRIL 1, 2010, THIS CLASS ACTION
                     SETTLEMENT MAY AFFECT YOUR RIGHTS.

                    A federal court authorized this notice. This is not a solicitation from a lawyer and you
                                                      aren’t being sued.

    A proposed Settlement has been reached in a class action lawsuit against Sony Computer Entertainment
     America LLC (“SCEA”) (n/k/a Sony Interactive Entertainment America LLC) challenging the issuance
     of a firmware update to disable the “Other OS” functionality from PlayStation® 3 “Fat” model
     computer entertainment consoles (“Fat PS3s”). The Other OS function enabled users to run Linux and
     other platforms as alternative operating systems on Fat PS3s. SCEA denies that it did anything wrong.
     The Court has not decided who is right in the lawsuit.

    If you purchased a Fat PS3 in the United States between November 1, 2006, and April 1, 2010, from
     an authorized retailer for family, personal, and/or household use and you: (1) used the Other OS
     functionality; or (2) knew about the Other OS functionality; or (3) contend or believe that you lost
     value or desired functionality or were otherwise injured as a consequence of Firmware Update 3.21
     and/or the disablement of Other OS functionality in the Fat PS3, then you are a Class Member and
     may be eligible to submit a claim to receive a cash payment. Each Class Member who submits a
     valid claim will be entitled to receive up to $65. The exact amount that each Class Member will receive
     will depend on the number of Class Members who submit valid claims. If you previously submitted a
     claim to the Settlement Administrator in connection with this class action lawsuit, you do not need to
     submit another one. Your previous claim has been retained. Please contact the Settlement
     Administrator if you have questions regarding the status of previously submitted claim form.

    Your legal rights are affected whether you act or do not act. Read this Notice and the information on
     this Settlement Website carefully. Your rights and options, and the deadlines to exercise them, are
     explained in this Notice.

    The Court will decide whether to approve the Settlement. Proposed payments to Class Members who
     do not exclude themselves from the Settlement will be made if the Court approves the Settlement.
     Please be patient and check this Settlement Website (www.              .com) to find out when the
     cash payments may be available.

                     YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
                                       If you are a Class Member, you can receive up to $65 if you submit a
                                       Claim Form. The deadline to submit a Claim Form is [ ]. See Sections 8-10
  SUBMIT A CLAIM
                                       below for more details.


                                       You won’t receive a cash payment but you will still be able to sue SCEA
  EXCLUDE YOURSELF FROM                about the claims in this Lawsuit. The postmark or email deadline to
  THE SETTLEMENT                       exclude yourself is [ ]. See Section 16 below for more details.


                                    QUESTIONS? CALL 800-000-0000 TOLL FREE
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                                  Write to the Settlement Administrator if you don’t like the Settlement. You
    OBJECT TO THE                 may object to the Settlement and also submit a claim for payment under the
    SETTLEMENT                    Settlement. The postmark deadline to send an objection is [
                                  ]. See Sections 18-19 below for more details.

                                  The Court has set a hearing on May 29, 2018 at 2:00 p.m. regarding
                                  the fairness of the Settlement. You may appear at the hearing, but you
     ATTEND THE HEARING           don’t have to. You may hire your own attorney to appear for you. See
                                  Sections 21-23 below for more details.

                                  If the settlement is approved and you do nothing and do not submit a claim,
                                  you will not receive a cash payment. You will be bound by the settlement
     DO NOTHING                   terms and judgment and will not be able to later sue SCEA about the claims
                                  in this lawsuit. See Section 15 below for more details.


           WHY DID I GET THIS NOTICE?

 You received this Notice because you may have purchased a Fat PS3 from an authorized retailer between
 November 1, 2006, and April 1, 2010. This Notice explains the lawsuit, the settlement, your legal rights, what
 settlement benefits are available, who is eligible for them, and how to get them.

 The Court authorized this Notice because you have a right to know about the proposed Settlement and all of
 your options before the Court decides whether to approve the Settlement. Cash payments will be provided if
 the Court approves the Settlement and all objections and appeals are resolved. You will be informed of the
 progress of the Settlement on this Settlement Website.

 The Court in charge of the case is the United States District Court for the Northern District of California, and
 the case is known as In re Sony PS3 “Other OS” Litigation, U.S. District Court, N.D. Cal., Case No. C-10-
 1811 (YGR) (the “Lawsuit”). The consumers who sued are called “Plaintiffs” and/or “Class Representatives”
 and the company they sued, SCEA, is called the “Defendant.”

           WHAT IS THIS LAWSUIT ABOUT?

 The Lawsuit claims that disabling the Other OS functionality in Fat PS3s through a firmware update constituted
 an unfair and unlawful business practice and false advertising. The lawsuit seeks recovery of monetary
 damages to compensate Fat PS3 purchasers for the loss of the Other OS feature and functionality. The Second
 Amended Complaint filed in the lawsuit, which is available on this Settlement Website, contains all of the
 allegations and claims asserted against SCEA.

           HOW DOES SCEA RESPOND TO THE ALLEGATIONS?

 SCEA expressly denies that it did anything wrong and does not admit or concede any actual or potential fault,
 wrongdoing, or liability in connection with any facts or claims that have been alleged against it in the Lawsuit.

           HAS THE COURT DECIDED WHO IS RIGHT?

                               QUESTIONS? CALL 800-000-0000 TOLL FREE
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 No. The Court has not decided which of the Parties, Plaintiffs or SCEA, is right.

           WHAT IS A CLASS ACTION AND WHO IS INVOLVED?

 In a class action, the “Class Representatives” sue on behalf of themselves and other people who have similar
 claims (the Class Members). This lawsuit has five Class Representatives: Anthony Ventura, Jason Baker,
 Jonathan Huber, James Girardi, and Derek Alba. One court resolves the issues for all Class Members except
 those who exclude themselves from the Class. U.S. District Court Judge Yvonne Gonzalez Rogers is in charge
 of this class action.

           WHY IS THERE A SETTLEMENT?

 The Court hasn’t decided in favor of either Plaintiffs or SCEA. Instead, both sides agreed to a Settlement. That
 way, they avoid the costs, uncertainty, and delay of further legal proceedings and the people affected will get
 the benefits of this Settlement. The Class Representatives and the attorneys appointed to represent the Class
 (called “Class Counsel”) believe the Settlement is in the best interest of all Class Members.

           HOW DO I KNOW IF I AM PART OF THE SETTLEMENT?
 To see if you will be part of the Settlement, you must decide whether you are a member of the Class. You are
 a member of the Class if you:
                    purchased a Fat PS3 in the United States between November 1, 2006 and April 1, 2010,
                    from an authorized retailer for family, personal, and/or household use and you (1) used the
                    Other OS functionality; or (2) knew about the Other OS functionality; or (3) contend or
                    believe that you lost value or desired functionality or were otherwise injured as a
                    consequence of Firmware Update 3.21 and/or the disablement of Other OS functionality in
                    the Fat PS3.

 IF YOU BOUGHT A FAT PS3 BETWEEN NOVEMBER 1, 2006 AND APRIL 1, 2010, BUT ARE UNSURE
 IF YOU ARE ELIGIBLE TO RECEIVE BENEFITS, WHETHER YOU ARE A MEMBER OF THE CLASS,
 OR WHAT YOUR OPTIONS ARE, YOU MAY CONTACT THE SETTLEMENT ADMINISTRATOR AT
 [ phone/email ] OR YOU CAN REVIEW THE SETTLEMENT DOCUMENTS ON THIS SETTLEMENT
 WEBSITE (www.           .com).

           WHAT DOES THE SETTLEMENT PROVIDE?
 The Settlement, if it is approved and becomes final, will provide a settlement fund of $3,750,000 from which
 class member claims will be paid. The costs of settlement administration, plaintiffs’ attorneys’ fees and costs
 and service awards to the named plaintiffs will be paid from the settlement fund. Class member claims up to
 $65.00 will be paid on a pro rata basis after all the fees, costs and service awards are paid. The exact amount
 that each class member will receive will depend on the number of valid claims that are submitted. You are
 eligible for a cash payment if you are a member of the class and you submit a valid claim form (as described
 more fully in Section 9, below) to the Settlement Administrator. If you previously submitted a claim to the
 Settlement Administrator in connection with this class action lawsuit, then you do not have to submit another
 claim form. The Settlement Administrator has retained your previously submitted claim form. Please contact
 the Settlement Administrator at the phone number set forth below if you have questions regarding the status of

                                 QUESTIONS? CALL 800-000-0000 TOLL FREE
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 a previously submitted claim form.

           HOW DO I GET A CASH PAYMENT?

 If you are eligible to receive a benefit as a Class Member, then you must submit a Claim Form to the Settlement
 Administrator in order to receive a cash payment. Electronic Claim Forms are available on this Settlement
 Website. You may also obtain a Claim Form by calling the Settlement Administrator at [phone]. The Claim
 Form will ask you to attest, under penalty of perjury, that you purchased a Fat PS3 in the United States between
 November 1, 2006 and April 1, 2010 from an authorized retailer for family, personal, and/or household use
 and that you: (1) used the Other OS functionality; (2) knew about the Other OS functionality; or (3) contend
 or believe that you lost value or desired functionality or were otherwise injured as a consequence of Firmware
 Update 3.21 and/or the disablement of Other OS functionality in the Fat PS3. For validation purposes, you
 will also be asked to provide one of the following: your PS3 console serial number, or PlayStation Network
 Sign-In ID associated with your PS3 and/or the PlayStation Network Online ID associated with your PS3.
 You can either upload or mail the claim form to the Settlement Administrator. Further information on
 submitting a Claim Form is provided in Section 10, below. Again, if you previously submitted a claim to
 the Settlement Administrator in connection with this class action lawsuit, then you do not have to submit
 another claim form. The Settlement Administrator has retained your previously submitted claim form. Please
 contact the Settlement Administrator at the phone number set forth below if you have questions regarding the
 status of a previously submitted claim form.

           HOW DO I SUBMIT A CLAIM FORM AND WHAT IS THE DEADLINE?

 You have two options for submitting a Claim Form:

       Online: You can submit a Claim Form online through this Settlement Website.
       By mail: You can print and fill out the Claim Form that is on this Settlement Website or request that the
        Settlement Administrator mail you a Claim Form, and then mail your completed Claim Form (with
        postage) to: [ADDRESS]
 You must follow the instructions and provide all of the required information on the Claim Form. Your claim
 will be rejected if your Claim Form is incomplete.
 Online Claim Forms must be submitted by [DATE]. Claim Forms submitted by mail must be
 postmarked by [DATE]. If your online Claim Form is not submitted by [date] or your mailed Claim Form is
 not postmarked by [date], then your claim will be rejected.

           WHAT HAPPENS AFTER A CLAIM FORM IS SUBMITTED?

 The Settlement Administrator will determine whether your Claim Form is complete and that the information
 that you submitted on your Claim Form is correct and valid. The Settlement Administrator may contact you
 for additional information if: (1) multiple claims with the same PS3 serial number are submitted; (2) a serial
 number is submitted but the console with that serial number is not associated with the PlayStation Network
 Sign-In ID or PlayStation Network Online ID identified by you; (3) a serial number is submitted that raises
 reasonable suspicion concerning the legitimacy of the serial number or the claim; or (4) more than one claim
 is submitted from the same household, i.e., the same postal address. The Settlement Administrator can also ask

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 you to provide the date and location of your Fat PS3 purchase or other information as may be reasonably
 necessary for the Settlement Administrator to establish that your claim is legitimate. Your claim will be rejected
 if you are contacted by the Settlement Administrator for additional information but you do not provide the
 information requested.

           CAN I SUBMIT MORE THAN ONE CLAIM?
 Yes, you can submit one claim for each Fat PS3 that you purchased between November 1, 2006, and April 1,
 2010, from an authorized retailer for family, personal, and/or household use, as long as you are a member of
 the Class as defined above in Section 8 of this Notice. Note, however, that if you have more than one console
 and submit multiple claims from the same household, the Settlement Administrator may ask you to provide
 additional information as set forth above in Section 11.

           WHEN WILL I RECEIVE MY PAYMENT?

 Judge Gonzalez Rogers will hold a Final Approval Hearing on May 29, 2018 to decide whether to
 approve the Settlement. If Judge Gonzalez Rogers approves the Settlement in a Final Judgment and there are
 no objections to the Settlement or appeals, the cash payments will be made approximately 65 days thereafter.
 However, it is possible there may be objections and/or appeals related to the final approval, any
 attorneys’ fees or costs awarded, or any incentive award to the Class Representatives. It is always uncertain
 whether and how these appeals will be resolved and resolving them may take time, perhaps more than a
 year. This website will be updated with current Settlement information including if final approval is entered
 and the date on which cash payments will be made. Please be patient.

           AM I GIVING UP ANY LEGAL RIGHTS BY STAYING IN THE CLASS?

 Yes. Unless you exclude yourself from the class, you will agree to a “Release” of all of the claims described
 in Paragraphs 117-121 of the Settlement Agreement, which is available on this Settlement Website. This means
 that you will not be able to sue, continue to sue, or be part of any other lawsuit or arbitration against SCEA
 about the Released Claims, regardless of whether you submit a Claim Form for settlement benefits. It also
 means that the Court’s orders will apply to you and legally bind you.

           WHAT HAPPENS IF I DO NOTHING?

 If you do nothing and the Court finally approves this Settlement, you will be bound by the release of claims
 in this Settlement as described above even though you did not submit a Claim Form. You will not receive a
 cash payment.

           HOW DO I EXCLUDE MYSELF FROM THE SETTLEMENT?

 To exclude yourself from the Settlement, you must send a written statement, either by mail or email, to the
 Settlement Administrator saying that you want to be excluded from the lawsuit entitled In re Sony PS3 “Other
 OS” Litigation. Your request must include:

       Your name and address;


                                QUESTIONS? CALL 800-000-0000 TOLL FREE
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       If applicable, the name and address of any person claiming to be legally entitled to submit an
        exclusion request on your behalf and the basis for such entitlement;

       Your Fat PS3 serial number, PlayStation Network Sign-In ID and/or your PlayStation Network
        Online ID; and

       A statement that you want to be excluded from the Class. You must personally sign your request for
        exclusion.

 A sample request for exclusion letter is available on this Settlement Website. You cannot exclude yourself
 by phone.

 Your exclusion request must be emailed or postmarked on or before [date]. Send your exclusion request to:

                                      [SETTLEMENT ADMINISTRATOR]

                        Attn: In re Sony PS3 “Other OS” Litigation Class Action Exclusions
                                                   [ADDRESS]

                                               [EMAIL ADDRESS]

            IF I DON’T EXCLUDE MYSELF, CAN I SUE FOR THE SAME THING
            LATER?

 No. Unless you exclude yourself, you give up the right to sue any of the Released Parties, including SCEA,
 about the issues raised in the Lawsuit.

            HOW DO I OBJECT TO THE SETTLEMENT?

 If you are a Class Member and don’t exclude yourself, you can object to any part of the Settlement, the
 Settlement as a whole, Class Counsel’s request for attorneys’ fees and expenses, and/or the request for service
 awards for each of the Class Representatives. Any objection must be made in writing and include the following
 information:
             The name of this case, which is In re Sony PS3 “Other OS” Litigation, U.S. District Court,
              N.D. Cal., Case No. C-10-1811 (YGR);
             Your full name, address, and telephone number;
             Your PS3 Serial Number, PlayStation Network Sign-In ID and/or your PlayStation Network
              Online ID;
             If applicable, the name and address of any person claiming to be legally entitled to object on your
              behalf and the basis of such legal entitlement;
             All grounds for your objection;
             Whether you are represented by counsel and, if so, the identity of such counsel;
             Your signature (an attorney’s signature is not sufficient).

 To be considered, your objection must be mailed to the Settlement Administrator at: [ADDRESS],

                                 QUESTIONS? CALL 800-000-0000 TOLL FREE
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 postmarked no later than [DATE].
 If you don’t send a timely or complete objection, you will waive all objections to the Settlement and you won’t
 be allowed to object to the Settlement at the Fairness Hearing or otherwise.
 Even if you object to the Settlement, you will be eligible for cash payments as set forth above in Section 8 if
 you submit a valid claim, and you will still be bound by all terms of the proposed Settlement if it is finally
 approved by the Court.

           WHAT’S THE DIFFERENCE BETWEEN OBJECTING AND EXCLUDING?

 You object to the Settlement when you wish to remain a Class Member and be subject to the Settlement, but
 disagree with some aspect of the Settlement. An objection allows your views to be heard in Court.
 In contrast, excluding yourself from the proposed Settlement means that you are no longer part of the proposed
 Settlement and don’t want the Settlement to apply to you even if the Court finally approves it. Once excluded
 from the proposed Settlement, you lose any right to receive a cash payment from the Settlement or to object to
 any aspect of the Settlement because the case no longer affects you.

           WHAT HAPPENS IF I DO NOTHING AT ALL?

 If you do nothing and the Court grants final approval of the proposed Settlement, you will be included in the
 Settlement but you will not receive a cash payment. You will be bound by the release of claims in the
 Settlement Agreement and will be giving up your rights to be part of any other lawsuit or make any other claim
 against SCEA or other Released Parties about the issues raised in the Lawsuit (see Section 14). The Settlement
 Agreement, available on this Settlement Website, describes all of the claims you will release (give up).

           WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE
           THE SETTLEMENT?

 The Court will hold the Fairness Hearing at 2:00 p.m. on May 29, 2018, at the United States District Court
 for the Northern District of California, Oakland Courthouse, Courtroom 1, 4th Floor, 1301 Clay Street,
 Oakland, CA 94612. The hearing may be moved to a different date or time without notice, so check for
 updates on this Settlement Website. At this hearing, the Court will consider whether the proposed
 Settlement is fair, reasonable, and adequate. The Court will also consider Class Counsel’s application for
 attorneys’ fees and expenses and for service awards for the Class Representatives. If there are objections, the
 Court will consider them at the hearing. After the hearing, the Court will decide whether to approve the
 Settlement. We don’t know how long the decision will take.

           DO I HAVE TO ATTEND THE HEARING?
 No, you don’t have to attend the Fairness Hearing. Class Counsel will answer any questions the Court may
 have. If you or your personal attorney would like to attend the Fairness Hearing, you are welcome to do so at
 your expense. If you send a written objection, you don’t have to come to Court to talk about it. As long as you
 submit your written objection by [date], to the proper address, and it complies with the requirements set forth
 in Section 18, above, the Court will consider it.

           MAY I SPEAK AT THE HEARING?

                               QUESTIONS? CALL 800-000-0000 TOLL FREE
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 You may ask the Court for permission to speak at the Fairness Hearing. If you intend to speak at the Fairness
 Hearing, you may, but you are not required to, file with the Court and serve by First-Class mail on Class
 Counsel and SCEA’s Counsel, a Notice of Intention to Appear. Your Notice of Intention to Appear should be
 filed and served by [date]. In addition to sending it to the Court, please send your Notice of Intent to Appear
 to the following:

               CLASS COUNSEL                                                    SCEA
                     James Pizzirusso                                        Luanne Sacks
                       Hausfeld LLP                                         Michele Floyd
               1700 K St. NW. Ste. 650                                      Michael Scott
               Washington, D.C. 20006
                      (202) 540-7200                                  Sacks, Ricketts & Case LLP
                  Fax: (202) 540-7201                                  177 Post Street, Suite 650
            Email: jpizzirusso@hausefeld.com                           San Francisco, CA 94108
                                                                      Email: lsacks@srclaw.com
                      Gordon M. Fauth                                    mfloyd@srclaw.com
                        Of Counsel                                       mscott@srclaw.com
                Finkelstein Thompson LLP
                100 Pine Street, Suite 1250
                 San Francisco, CA 94111
                 Direct Tel: 510-238-9610
                    Tel: 415-398-8700
                    Fax: 415-398-8704
               Email: gmf@classlitigation.com

                  Kathleen V. Fisher
              C alvo Fisher & Jacob LLP
                  555 Montgomery Street
                         Suite 1155
                 San Francisco, CA 94111
                       415-374-8370
                    Fax: 415-374-8373
              Email: kfisher@calvofisher.com

           DO I HAVE A LAWYER IN THE CASE?

 The Class Representatives and the Class are represented by the lawyers and law firms listed in Section 23,
 above, under the heading “Class Counsel.” The Court has appointed these lawyers to represent the Class in the
 Lawsuit and you will not be charged for their work on the case. If you want to be represented by your own
 lawyer, you may hire one at your own expense.

           HOW WILL THE LAWYERS BE PAID?

 Class Counsel have worked on this case since April 2010 to the present and have not been paid for their work
 to date. Class Counsel intend to ask the Court to approve payment of a maximum of one third of the settlement
 fund, or $1,250,000 in attorneys’ fees and expenses to be paid from the settlement fund.


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 Class Counsel will also ask the Court to award to each of the five (5) Class Representatives a service award
 not to exceed $3,500. This service award is to compensate the Class Representatives for their respective
 commitment and effort on behalf of the Class Members in the Lawsuit. Any service awards approved by the
 Court will be paid out of the settlement fund.

 Class Counsel’s application for attorneys’ fees, expenses, and service awards will be available on this
 Settlement Website once it is filed.

           HOW DO I GET MORE INFORMATION?

 This notice summarizes the proposed Settlement. You can find more details in the Settlement Agreement. You
 can get a copy of the Settlement Agreement, read other key case documents, and get more information on this
 Settlement Website. You can also call [TOLL-FREE NUMBER] for more information. DO NOT CONTACT
 THE COURT, SCEA, OR SCEA’S COUNSEL.




                              QUESTIONS? CALL 800-000-0000 TOLL FREE
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   EXHIBIT 5
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1    Kathleen V. Fisher (SBN 70838)
2    kfisher@calvofisher.com
     CALVO FISHER & JACOB LLP
3    555 Montgomery Street, Suite 1155
     San Francisco, California 94111
4    Telephone: (415) 373-8370
     Facsimile: (415) 374-8373
5
6    James Pizzirusso (pro hac vice)
     jpizzirusso@hausfeld.com
7    HAUSFELD LLP
     1700 K Street NW, Suite 650
8    Washington, DC 20006
9    Telephone: (202) 540-7200
     Facsimile: (202) 540-7201
10
     Gordon M. Fauth, Jr. (SBN 190280)
11   gfauth@finkelsteinthompson.com
     Of Counsel
12
     FINKELSTEIN THOMPSON LLP
13   100 Pine Street, Suite 1250
     San Francisco, California 94111
14   Direct Telephone: (510) 238-9610
     Telephone: (415) 398-8700
15   Facsimile: (415) 398-8704
16
     Interim Co-Lead Counsel for Plaintiffs and the Proposed Class
17
                                UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19
20   In re SONY PS3 “OTHER OS”                    )   Case No.: 10-cv-01811-YGR
     LITIGATION                                   )
                                                  )   [PROPOSED] ORDER GRANTING
21                                                )
                                                  )   RENEWED MOTION FOR
22                                                )   PRELIMINARY APPROVAL OF CLASS
                                                  )   ACTION SETTLEMENT AND
23                                                )   CERTIFICATION OF SETTLEMENT
                                                  )   CLASS
24                                                )
                                                  )
25
26
27
28
                                                       [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                       PRELIMINARY APPROVAL OF CLASS ACTION
                                                       SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                       CLASS; CASE NO. 10-CV-01811-YGR
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1           This matter came before the Court on Plaintiffs’ Renewed Motion for Preliminary

2    Approval of Class Settlement and Certification of Settlement Class. The Parties have entered
3    into a Settlement Agreement executed September 1, 2017 (the “Settlement”) which has been
4    filed with the Court and which, if approved, would resolve the above-captioned class action
5    lawsuit (the “Action” or the “Class Action Lawsuit”). Upon review and consideration of the
6    motion papers and the Settlement and all exhibits thereto, including the proposed forms of notice
7    to the Class and the proposed Claim Form, the Court finds that there is sufficient basis for: (1)
8    granting preliminary approval of the Settlement; (2) provisionally certifying the Class for
9    settlement purposes only; (3) appointing Class Counsel and Plaintiffs to represent the Class; (4)
10   approving the Parties’ proposed notice program and forms of notice substantially similar to those
11   forms attached to the Settlement and directing that notice be disseminated to the Class pursuant
12   to the notice program provided in the Settlement; (5) approving the Parties’ proposed Claim
13   Form and approving the procedures set forth in the Settlement for Class Members to submit
14   claims, exclude themselves from the Class, and object to the Settlement; (6) appointing a
15   Settlement Administrator to conduct the duties assigned to that position in the Settlement; and
16   (7) setting a hearing (the “Fairness Hearing”) at which the Court will consider: (a) whether to
17   grant Final Approval of the Settlement; (b) Class Counsel’s Application for Attorneys’ Fees
18   and Costs; and (c) any Request for Service Awards for the Plaintiffs.
19          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
20          1.      Capitalized, bolded terms not otherwise defined herein shall have the same
21   meaning as set forth in the Settlement Agreement, attached hereto as Exhibit A.
22          2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, and has
23   personal jurisdiction over the Parties. Venue is proper in this District.
24          3.      This Action is provisionally certified as a class action for the purposes of
25   settlement only pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(3), and 23(e). The
26   Class is defined as follows:
27
            [A]ny and all persons in the United States who purchased a Fat PS3 in the
28                                                   1
                                                           [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                           PRELIMINARY APPROVAL OF CLASS ACTION
                                                           SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                           CLASS; CASE NO. 10-CV-01811-YGR
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            United States between November 1, 2006 and April 1, 2010 from an authorized
1           retailer for family, personal, and/or household use and who: (1) used the
2           Other OS functionality; (2) knew about the Other OS functionality; or (3)
            contends or believes that he or she lost value or desired functionality or was
3           otherwise injured as a consequence of Firmware Update 3.21 and/or the
            disablement of Other OS functionality in the Fat PS3.
4
     Excluded from the Class are: (a) any persons who are employees, directors, officers, and agents
5
     of SCEA or its subsidiaries and affiliated companies; (b) any persons who timely and properly
6
     exclude themselves from the Settlement; and (c) the Court, the Court’s immediate family, and
7
     Court staff.
8
            4.      Certification of the Class shall be solely for settlement purposes and without
9
     prejudice to the Parties in the event the Settlement is not finally approved by this Court or
10
     otherwise does not take effect.
11
            5.      In support of this Preliminary Approval Order, the Court conditionally and
12
     preliminarily finds that: (a) the Class Members are so numerous that joinder of all Class
13
     Members is impracticable; (b) there are questions of law and fact common to the Class
14
     Members, each of whom could have asserted the types of claims raised in the Action, and these
15
     questions predominate over any questions affecting individual Class Members; (c) the named
16
     Class Representatives’ claims are typical of the claims of the Class Members; (d) the named
17
     Class Representatives and Class Counsel identified below are able to adequately represent the
18
     Class Members; and (e) class-wide treatment of the disputes raised in the Action is superior to
19
     other available methods for adjudicating the controversy.
20
            6.      The Court preliminarily approves the proposed Settlement as fair, reasonable, and
21
     adequate, entered into in good faith, free of collusion, and within the range of possible judicial
22
     approval.
23
            7.      The Court appoints the following as Class Counsel: James J. Pizzirusso of
24
     Hausfeld LLP, Gordon M. Fauth of Finkelstein Thompson LLP, and Kathleen V. Fisher of Calvo
25
     Fisher & Jacob LLP.
26
            8.      The Court appoints Plaintiffs Anthony Ventura, Jason Baker, James Girardi,
27
28                                                   2
                                                           [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                           PRELIMINARY APPROVAL OF CLASS ACTION
                                                           SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                           CLASS; CASE NO. 10-CV-01811-YGR
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1    Derek Alba, and Jonathan Huber as Class Representatives for the Class.

2           9.      The Court directs the parties to select a Settlement Administrator to carry out all
3    duties and responsibilities of the Settlement Administrator specified in the Settlement.
4           10.     The Court approves the program for disseminating notice to the Class set forth in
5    the Settlement (the “Notice Program”). The Court approves the form and content of the
6    proposed forms of notice in the forms attached to the Settlement Agreement as Exhibits 4 and 6.
7    The Court finds that the proposed forms of notice are clear and readily understandable by Class
8    Members. The Court finds that the Notice Program, including the proposed forms of notice,
9    constitutes the best notice practicable under the circumstances, constitutes valid, due, and
10   sufficient notice to the Class in full compliance with the requirements of applicable law, including
11   Federal Rule of Civil Procedure 23 and the Due Process Clause of the United States Constitution,
12   and is the only notice to the Class of the Settlement that is required.
13          11.     The Court approves the form and content of the proposed Claim Form, in the
14   form attached to the Settlement Agreement as Exhibit 1, and approves the procedures set forth in
15   the Settlement for Class Members to submit Claims.
16          12.     The Parties acknowledge that SCEA has prepared an electronic database that is
17   reasonably calculated to include the email address(es) of all the Class Members known by SCEA
18   through its PlayStation Network Database as of the date of Preliminary Approval, for the
19   Settlement Administrator’s use in disseminating notice and processing Claims. Pursuant to the
20   terms of the Settlement, within fourteen (14) days of the Preliminary Approval Order, SCEA
21   shall update the content of the previously prepared database.
22          13.     The “Notice Date” shall be forty-five (45) days following the entry of this Order.
23          14.     By no later than the Notice Date, the Settlement Administrator shall send the
24   Short Form Notice, substantially in the form attached to the Settlement Agreement as Exhibit 6
25   and in the form approved by the Court, to Class Members via email for those Class Members
26   for whom an email address is available, along with a link to the Settlement Website. The subject
27
     line for all emails covered by this paragraph shall be: “Important - Notice of New Class Action
28                                                   3
                                                            [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                            PRELIMINARY APPROVAL OF CLASS ACTION
                                                            SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                            CLASS; CASE NO. 10-CV-01811-YGR
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1    Settlement Regarding PlayStation 3 ‘Other OS’ Function.”

2           15.     The Settlement Administrator shall provide one follow-up round of e-mail notice
3    to those Class Members who have not submitted Claims and for whom the Settlement
4    Administrator did not receive a bounce-back in response to the first round of email notice.
5           16.     By no later than the Notice Date, the Settlement Administrator shall post the
6    Long Form Notice, in the form approved by the Court, on the Settlement Website.
7           17.     As soon as practicable following the entry of the Preliminary Approval Order
8    and, in all events, by no later than the Notice Date, the Settlement Administrator shall cause the
9    Short Form Notice to be published in the online publications agreed upon by the Parties.
10          18.     The Settlement Administrator shall use the Internet website, appearing at
11   www.otherossettlement.com (“Settlement Website”), where Class Members can obtain further
12   information about the terms of the Settlement, their rights, important dates and deadlines, and
13   related information. Class Members shall also be able to submit a Claim Form electronically
14   via the Settlement Website. The Settlement Website shall include, in PDF format, the Second
15   Amended Complaint (“SAC”), the Settlement Agreement, the Motion for Preliminary
16   Approval, the Preliminary Approval Order, the Class Notice, any papers filed in support of
17   Final Approval of the Settlement, Class Counsel’s Application for Attorneys’ Fees and Costs
18   (after it is filed), the Final Approval Order (after it is entered), and other case documents as
19   agreed upon by the Parties and/or required by the Court and shall be operational and live on the
20   date the Settlement Administrator begins emailing notice. The Settlement Website shall be
21   optimized for mobile display. The Settlement Administrator shall maintain the Settlement
22   Website as operational and shall not take it down until two hundred (200) days after the Effective
23   Date. Within five (5) business days after the Settlement Website is taken down, the Settlement
24   Administrator shall transfer ownership of the URL for the Settlement Website to SCEA.
25          19.     The Settlement Administrator shall establish and maintain a toll-free telephone
26   number (“Toll-Free Number”) where Class Members can call to request a copy of the
27
     Settlement Agreement, a Claim Form, or any other information concerning the Settlement or
28                                                   4
                                                           [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                           PRELIMINARY APPROVAL OF CLASS ACTION
                                                           SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                           CLASS; CASE NO. 10-CV-01811-YGR
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1    the Settlement Agreement.

2           20.      By no later than fifteen (15) days after the Objection/Exclusion Date, the
3    Settlement Administrator shall provide to the Parties proof of the extent and effectiveness of
4    Class Notice.
5           21.      Class Members who wish to submit a Claim shall have the option of submitting
6    Claim Forms online via the Settlement Website or by mail. Claim Forms submitted online
7    must be submitted by no later than the Claims Deadline (ninety (90) days following the Notice
8    Date). Claim Forms submitted by mail must be postmarked no later than the Claims Deadline.
9           22.      By no later than ten (10) days after the Claims Deadline, the Settlement
10   Administrator, using the information submitted by Class Members, shall create and provide to
11   Class Counsel and SCEA’s Counsel a complete and final list of Valid Claimants that includes
12   each member’s name and PlayStation Network Sign-In ID, PlayStation Network Online ID and/or
13   serial number as provided.
14          23.      Any Class Member who wishes to be excluded from the Class must email or mail
15   a written request for exclusion to the Settlement Administrator at the email address or mailing
16   address provided in the Class Notice, postmarked no later than the Opt-out Deadline (ninety (90)
17   days following the Notice Date), and: (a) must contain the name and address of the person to be
18   excluded; (b) if applicable, must contain the name and address of any person claiming to be
19   legally entitled to submit an exclusion request on behalf of the Class Member and the basis for
20   such legal entitlement; (c) must be mailed by First Class U.S. Mail, proper postage prepaid, to the
21   Settlement Administrator at the specified mailing address; (d) must be submitted or postmarked
22   on or before the Opt-out Deadline; (e) should include the serial number of the Fat PS3 that he or
23   she purchased, the PlayStation Network Sign-In ID used for that console before April 1, 2010 or
24   the PlayStation Network Online ID used for that console before April 1, 2010; and (f) must be
25   personally signed and clearly indicate that he/she wants to be excluded from the Class. So-called
26   “mass” or “class” opt-outs shall not be allowed.
27
            24.      If the Settlement is finally approved and becomes effective, any Class Member
28                                                  5
                                                          [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                          PRELIMINARY APPROVAL OF CLASS ACTION
                                                          SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                          CLASS; CASE NO. 10-CV-01811-YGR
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1    who does not send a timely and valid request for exclusion shall be a Settlement Class Member

2    and shall be bound by all subsequent proceedings, orders, and judgments in the Action, including,
3    but not limited to, the Release, even if he or she has litigation pending or subsequently initiates
4    litigation against SCEA relating to the claims and transactions released in the Action.
5           25.     Any Class Member or person legally entitled to act on his or her behalf may
6    object to the fairness, reasonableness, or adequacy of the Settlement, to Class Counsel’s Request
7    for Attorneys’ Fees and Costs (“Fee Application”), and/or the Request for Service Awards for
8    the Plaintiffs. To be valid, any objection must be made in writing, must be mailed to the
9    Settlement Administrator at the address provided in the Class Notice, postmarked no later than
10   the Objection Deadline (ninety (90) days following the Notice Date), and must include the
11   following: (a) the name of the Action (In re Sony PS3 “Other OS” Litigation, No. 10-CV-01811-
12   YGR); (b) the objector’s full name, address, and telephone number; (c) if applicable, the name
13   and address of any person claiming to be legally entitled to object on behalf of a Class Member
14   and the basis of such legal entitlement; (d) all grounds for the objection; (e) the serial number of
15   the Fat PS3 that he or she purchased, the PlayStation Network Sign-In ID used for that console
16   before April 1, 2010 or the PlayStation Network Online ID used for that console before April 1,
17   2010; (f) whether the objector is represented by counsel and, if so, the identity of such counsel,
18   and all previous objections filed by the objector and their counsel within the last two years; and
19   (g) the objector’s signature.
20          26.     Any Class Member who submits a timely and valid written objection may appear
21   at the Fairness Hearing, either in person or through personal counsel hired at the Class
22   Member’s own personal expense. Any Class Member who does not submit a timely and valid
23   objection shall be deemed to have waived all objections and shall forever be foreclosed from
24   making any objection to the fairness, adequacy, or reasonableness of the Settlement and any
25   Final Approval Order and Final Judgment entered approving it, Class Counsel’s Fee
26   Application, or any Request for Service Awards for the Plaintiffs.
27
            27.     No later than two (2) days after the Objection Deadline, the Settlement
28                                                    6
                                                            [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                            PRELIMINARY APPROVAL OF CLASS ACTION
                                                            SETTLEMENT AND CERTIFICATION OF SETTLEMENT
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1    Administrator shall provide to Class Counsel and SCEA’s Counsel all objections submitted by

2    Class Members, including any related correspondence.
3           28.     The Settlement Administrator shall no later than ten (10) days after the Opt-Out
4    or Exclusion Deadline provide to Class Counsel and SCEA’s Counsel a complete and final list
5    of Class Members who submitted requests to exclude themselves from the Class, including any
6    related correspondence.
7           29.     All costs associated with the administration of the Settlement, distribution of Class
8    Notice, and any other tasks assigned to the Settlement Administrator by the Settlement, by this
9    Preliminary Approval Order, by SCEA and the Class Counsel’s mutual agreement in writing,
10   or by this Court shall be paid from the Settlement Funds.
11          30.     The Court directs that the Fairness Hearing be scheduled for May 29, 2018, at
12   2:00 p.m. to assist the Court in determining whether the Settlement should be finally approved
13   as fair, reasonable, and adequate to the Settlement Class Members; whether Final Judgment
14   should be entered dismissing the Action with prejudice; whether Class Counsel’s Fee
15   Application should be approved; and whether any Request for Service Awards for the Plaintiffs
16   should be approved.
17          31.     The Parties shall file any motions in support of Final Approval of the Settlement
18   by no later than April 24, 2018. Class Counsel shall file their Fee Application and any Request
19   for Service Awards for the Plaintiffs by no later than March 1, 2018. After it is filed, Class
20   Counsel’s Fee Application and Request for Service Awards for the Plaintiffs shall be posted on
21   the Settlement Website.
22          32.     The Parties shall file any responses to any Class Member objections by no later
23   than April 24, 2018.
24          33.     The Court reserves the right to modify the date of the Fairness Hearing and
25   related deadlines set forth herein. In the event the Fairness Hearing is moved, the new date and
26   time shall be promptly posted on the Settlement Website by the Settlement Administrator.
27
            34.     This Order shall become null and void and shall be without prejudice to the rights
28                                                  7
                                                          [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                          PRELIMINARY APPROVAL OF CLASS ACTION
                                                          SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                          CLASS; CASE NO. 10-CV-01811-YGR
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1    of the Parties, all of whom shall be restored to their respective positions as they existed

2    immediately before the Court entered this Order, if: (a) the Settlement is not finally approved by
3    the Court, or does not become final, pursuant to the terms of the Settlement; (b) the Settlement
4    is terminated in accordance with the Settlement; or (c) the Settlement does not become effective
5    pursuant to the terms of the Settlement for any other reason.
6           35.     If the Settlement does not become final and effective pursuant to the terms of the
7    Settlement, the Class Representatives, the Class Members, and SCEA shall be returned to their
8    respective statuses as of the date immediately prior to the execution of the Settlement
9    Agreement, and this Preliminary Approval Order shall have no force or effect, and neither this
10   Preliminary Approval Order nor the Settlement shall be construed or used as an admission,
11   concession, or declaration by or against SCEA of any fault, wrongdoing, breach, or liability, or
12   be construed or used as an admission, concession, or declaration by or against any of the
13   Plaintiffs or Class Members that their claims lack merit or that the relief requested is
14   inappropriate, improper, or unavailable, or as a waiver by any party of any defenses or claims he,
15   she, or it may have in this Action or in any other lawsuit, and it shall not be admissible in
16   evidence, or usable for any purpose whatsoever in the Action, any proceeding between the
17   Parties, or in any action related to the Released Claims or otherwise involving the Parties, Class
18   Members, or any Released Party.
19          36.     Pending the final determination of whether the Settlement should be approved, all
20   proceedings in this Action, except as may be necessary to implement the Settlement or comply
21   with the terms of the Settlement, are hereby stayed.
22          37.     Pending the final determination of whether the Settlement should be approved,
23   Plaintiffs and each Class Member, and any person purportedly acting on behalf of any Class
24   Member(s), are hereby enjoined from commencing, pursuing, maintaining, enforcing, or
25   prosecuting, either directly or indirectly, any Released Claims in any judicial, administrative,
26   arbitral or other forum, against any of the Released Parties, provided that this injunction shall not
27
     apply to the claims of any Class Members who have timely and validly requested to be excluded
28                                                    8
                                                            [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                            PRELIMINARY APPROVAL OF CLASS ACTION
                                                            SETTLEMENT AND CERTIFICATION OF SETTLEMENT
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1    from the Class. Such injunction shall remain in force until Final Settlement Date or until such

2    time as the Parties notify the Court that the Settlement has been terminated. This injunction is
3    necessary to protect and effectuate the Settlement, this Preliminary Approval Order, and this
4    Court’s authority regarding the Settlement, and is ordered in aid of this Court’s jurisdiction and
5    to protect its judgments.
6             38.   Class Counsel, SCEA, and the Settlement Administrator are directed to carry
7    out their obligations under the Settlement and this Preliminary Approval Order.
8             IT IS SO ORDERED.
9
10   Dated:                                       By:
                                                  HON. YVONNE GONZALEZ ROGERS
11                                                District Judge
12                                                U.S. District Court, Northern District of California

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                                                          [PROPOSED] ORDER GRANTING RENEWED MOTION FOR
                                                          PRELIMINARY APPROVAL OF CLASS ACTION
                                                          SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                                          CLASS; CASE NO. 10-CV-01811-YGR
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   EXHIBIT 6
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   EXHIBIT 7
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                LIST OF FAT PS3 MODEL NUMBERS


                            CECHA01

                            CECHB01

                            CECHE01

                          CECHE01MG

                            CECHE11

                            CECHG01

                            CECHG11

                            CECHH01

                          CECHH01MG

                            CECHH11

                            CECHK01

                            CECHK11

                            CECHL01

                            CECHL11

                            CECHP01
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   EXHIBIT 8
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     GENERAL RELEASE OF ALL CLAIMS BY PLAINTIFF JONATHAN HUBER



1.      In consideration of the benefits provided for in the Class Action Settlement Agreement
(“SETTLEMENT AGREEMENT”), Jonathan Huber (“Huber”), on his own behalf and on behalf
of his heirs, assigns, executors, administrators, predecessors, and successors, hereby completely
releases and forever discharges Sony Computer Entertainment America LLC, currently known as
Sony Interactive Entertainment America LLC (“SCEA”), and its current and former parents,
subsidiaries, divisions, and current and former affiliated individuals and entities, successors,
predecessors (including companies they have acquired, purchased, or absorbed), assigns, joint
venturers, distributors, retailers, developers and/or licensees and each and all of their respective
officers, partners, directors, servants, agents, shareholders, investors, members, managers,
principals, investment advisors, consultants, employees, representatives, attorneys, accountants,
lenders, underwriters, and insurers (“RELEASED PARTIES”), from any and all injuries,
demands, losses, damages, costs, loss of service, expenses, compensations, claims, suits, causes
of action, attorneys’ fees, obligations, or liabilities of any nature, type, or description, whether
known or unknown, suspected or unsuspected, contingent or non-contingent, whether based on
federal, state, or local law, statute, ordinance, code, contract, common law, or any other source
which Huber has, may now have, or has ever had against any of the RELEASED PARTIES, or
any of them arising from or in any way connected with Huber’s purchase of a Fat PS3 and/or any
other relationship with SCEA, as of the date of Huber’s execution of this General Release
including, but not limited to claims that were or could have been asserted in or arising from or
that may have arisen from the same facts alleged in either In re Sony PS3 “Other OS” Litigation,
Case No. 4:10-cv-01811 YGR, currently pending in the District Court for the Northern District
of California (the “ACTION”) and/or Huber v. Sony Computer Entertainment America LLC,
Northern District of California, Case No. 10-cv-2213 (May 21, 2010). This General Release
covers all statutory, common law, constitutional, and other claims, including but not limited to:
       (a)     Any and all claims concerning the advertising of SCEA’s Other OS functionality;
       (b)     Any and all claims that arise out of, refer to or in any way relate to the disabling
               of the Other OS functionality in the Fat PS3;
       (c)     Any and all claims under California’s Unfair Competition Law, Cal. Bus. & Prof.
               Code § 17200 et seq. (“UCL”), or any other applicable law or statute related to
               SCEA’s advertising of the Other OS functionality;
       (d)     Any and all claims that SCEA’s advertising or representations regarding SCEA’s
               Other OS functionality constituted a fraudulent, unlawful, unfair, or deceptive
               business practice, were unconscionable, violated consumer protection statutes,
               and/or constituted a breach of contract and/or breach of the covenant of good faith
               and fair dealing or unjust enrichment; and/or
       (e)     Any and all claims concerning any fact or circumstance that relates to SCEA’s
               advertising or representations regarding its Other OS functionality (collectively,
               the “RELEASED CLAIMS”).
This General Release described herein covers, includes, and is intended to include all remedies
that could be sought for the RELEASED CLAIMS including, but not limited to, statutory,
constitutional, contractual, and common law claims for injunctive relief, declaratory relief,
damages, unpaid costs, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,
litigation costs, restitution, disgorgement, or equitable relief against SCEA.
2.      Waiver of Unknown Claims. Huber has read Section 1542 of the Civil Code of the
State of California, which provides as follows:
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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
       THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS
       OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE,
       WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

Huber hereby voluntarily waives the rights described in Section 1542 and elects to assume all
risks for claims that now exist in his favor, whether known or unknown, against the RELEASED
PARTIES. Accordingly, this General Release includes within its effect claims and causes of
action which Huber does not know or suspect to exist in his favor at the time of his execution
hereof and if the facts and circumstances relating in any manner to the RELEASED CLAIMS are
hereafter found to be other than or different from the facts now believed to be true, this General
Release shall remain effective.

3.      Huber warrants and represents that he is the sole and lawful owner of all rights, title, and
interest in and to all of the claims described above and that he has not heretofore voluntarily, by
operation of law or otherwise, sold, assigned, or transferred or purported to sell, assign, or
transfer to any other person or entity such claims or any part or portion thereof.

4.      The Settlement Administrator of the Stipulation of Class Action Settlement and Release,
executed in the ACTION, shall issue Huber a Form 1099 reflecting the payment of any
settlement benefits described in the SETTLEMENT AGREEMENT.

5.      Huber agrees that he alone is responsible for the tax consequences, including any
penalties or interest, relating to the payment of any settlement benefits.

6.      Huber and the RELEASED PARTIES expressly agree that any and all force and
effectiveness of this General Release is entirely contingent upon final approval of the
SETTLEMENT executed in the ACTION. If the SETTLEMENT does not become final for any
reason, then this General Release shall be null and void ab initio. Neither an appeal of, a
modification of nor a reversal on appeal of a FEE AND EXPENSE AWARD or a SERVICE
AWARD described in the SETTLEMENT AGREEMENT shall constitute grounds for
cancellation or termination of this General Release, however.

Dated: August 24, 2017

Jonathan Huber
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Exhibit 8

   GENERAL RELEASE OF ALL CLAIMS BY PLAINTIFF ANTHONY VENTURA



1.      In consideration of the benefits provided for in the Class Action Settlement Agreement
(“SETTLEMENT AGREEMENT”), Anthony Ventura (“Ventura”), on his own behalf and on
behalf of his heirs, assigns, executors, administrators, predecessors, and successors, hereby
completely releases and forever discharges Sony Computer Entertainment America LLC,
currently known as Sony Interactive Entertainment America LLC (“SCEA”), and its current and
former parents, subsidiaries, divisions, and current and former affiliated individuals and entities,
successors, predecessors (including companies they have acquired, purchased, or absorbed),
assigns, joint venturers, distributors, retailers, developers and/or licensees and each and all of
their respective officers, partners, directors, servants, agents, shareholders, investors, members,
managers, principals, investment advisors, consultants, employees, representatives, attorneys,
accountants, lenders, underwriters, and insurers (“RELEASED PARTIES”), from any and all
injuries, demands, losses, damages, costs, loss of service, expenses, compensations, claims, suits,
causes of action, attorneys’ fees, obligations, or liabilities of any nature, type, or description,
whether known or unknown, suspected or unsuspected, contingent or non-contingent, whether
based on federal, state, or local law, statute, ordinance, code, contract, common law, or any other
source which Ventura has, may now have, or has ever had against any of the RELEASED
PARTIES, or any of them arising from or in any way connected with Ventura’s purchase of a Fat
PS3 and/or any other relationship with SCEA, as of the date of Ventura’s execution of this
General Release including, but not limited to claims that were or could have been asserted in or
arising from or that may have arisen from the same facts alleged in either In re Sony PS3 “Other
OS” Litigation, Case No. 4:10-cv-01811 YGR, currently pending in the District Court for the
Northern District of California (the “ACTION”) and/or Anthony Ventura v. Sony Computer
Entertainment America Inc., United States District Court, Northern District of California, Case
No. CV 10 1811 EMC. This General Release covers all statutory, common law, constitutional,
and other claims, including but not limited to:
       (a)     Any and all claims concerning the advertising of SCEA’s Other OS functionality;
       (b)     Any and all claims that arise out of, refer to or in any way relate to the disabling
               of the Other OS functionality in the Fat PS3;
       (c)     Any and all claims under California’s Unfair Competition Law, Cal. Bus. & Prof.
               Code § 17200 et seq. (“UCL”), or any other applicable law or statute related to
               SCEA’s advertising of the Other OS functionality;
       (d)     Any and all claims that SCEA’s advertising or representations regarding SCEA’s
               Other OS functionality constituted a fraudulent, unlawful, unfair, or deceptive
               business practice, were unconscionable, violated consumer protection statutes,
               and/or constituted a breach of contract and/or breach of the covenant of good faith
               and fair dealing or unjust enrichment; and/or
       (e)     Any and all claims concerning any fact or circumstance that relates to SCEA’s
               advertising or representations regarding its Other OS functionality (collectively,
               the “RELEASED CLAIMS”).
This General Release described herein covers, includes, and is intended to include all remedies
that could be sought for the RELEASED CLAIMS including, but not limited to, statutory,
constitutional, contractual, and common law claims for injunctive relief, declaratory relief,
damages, unpaid costs, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,
litigation costs, restitution, disgorgement, or equitable relief against SCEA.
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        GENERAL RELEASE OF ALL CLAIMS BY PLAINTIFF JASON BAKER



1.      In consideration of the benefits provided for in the Class Action Settlement Agreement
(“SETTLEMENT AGREEMENT”), Jason Baker (“Baker”), on his own behalf and on behalf of
his heirs, assigns, executors, administrators, predecessors, and successors, hereby completely
releases and forever discharges Sony Computer Entertainment America LLC, currently known as
Sony Interactive Entertainment America LLC (“SCEA”), and its current and former parents,
subsidiaries, divisions, and current and former affiliated individuals and entities, successors,
predecessors (including companies they have acquired, purchased, or absorbed), assigns, joint
venturers, distributors, retailers, developers and/or licensees and each and all of their respective
officers, partners, directors, servants, agents, shareholders, investors, members, managers,
principals, investment advisors, consultants, employees, representatives, attorneys, accountants,
lenders, underwriters, and insurers (“RELEASED PARTIES”), from any and all injuries,
demands, losses, damages, costs, loss of service, expenses, compensations, claims, suits, causes
of action, attorneys’ fees, obligations, or liabilities of any nature, type, or description, whether
known or unknown, suspected or unsuspected, contingent or non-contingent, whether based on
federal, state, or local law, statute, ordinance, code, contract, common law, or any other source
which Baker has, may now have, or has ever had against any of the RELEASED PARTIES, or
any of them arising from or in any way connected with Baker’s purchase of a Fat PS3 and/or any
other relationship with SCEA, as of the date of Baker’s execution of this General Release
including, but not limited to claims that were or could have been asserted in or arising from or
that may have arisen from the same facts alleged in either In re Sony PS3 “Other OS” Litigation,
Case No. 4:10-cv-01811 YGR, currently pending in the District Court for the Northern District
of California (the “ACTION”) and/or Baker, et al. v. Sony Computer Entertainment America
LLC, Northern District of California, Case No. 10-cv-1697 (April 30, 2010). This General
Release covers all statutory, common law, constitutional, and other claims, including but not
limited to:
       (a)     Any and all claims concerning the advertising of SCEA’s Other OS functionality;
       (b)     Any and all claims that arise out of, refer to or in any way relate to the disabling
               of the Other OS functionality in the Fat PS3;
       (c)     Any and all claims under California’s Unfair Competition Law, Cal. Bus. & Prof.
               Code § 17200 et seq. (“UCL”), or any other applicable law or statute related to
               SCEA’s advertising of the Other OS functionality;
       (d)     Any and all claims that SCEA’s advertising or representations regarding SCEA’s
               Other OS functionality constituted a fraudulent, unlawful, unfair, or deceptive
               business practice, were unconscionable, violated consumer protection statutes,
               and/or constituted a breach of contract and/or breach of the covenant of good faith
               and fair dealing or unjust enrichment; and/or
       (e)     Any and all claims concerning any fact or circumstance that relates to SCEA’s
               advertising or representations regarding its Other OS functionality (collectively,
               the “RELEASED CLAIMS”).
This General Release described herein covers, includes, and is intended to include all remedies
that could be sought for the RELEASED CLAIMS including, but not limited to, statutory,
constitutional, contractual, and common law claims for injunctive relief, declaratory relief,
damages, unpaid costs, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,
litigation costs, restitution, disgorgement, or equitable relief against SCEA.
2.     Waiver of Unknown Claims. Baker has read Section 1542 of the Civil Code of the
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                   EXHIBIT B
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GCG ID       Name                           City            State
757B416031   REGINALD FRANCIA               SAN JOSE        CA
9F8C4BC115   JAMES COHEN                    PHILADELPHIA    PA
0DCAD9FBBD   Alexander Geng
B96D2AA1A8   SUNIL GOKLANI
0EB8D634E6   ERIC LASKEY                    RIDGECREST      CA
34BB64E22C   MYRON MASON
298FCC3624   Joshua Craine                  PELZER          SC
P008364266   MICHAEL SINISCALCHI            BRIMFIELD       MA
DEF1FA8AAA   BRIAN CLEMENS                  BRISTOL         IN
27EE73A0C1   CHANDELOR ARMSTRONG            TOPEKA          KS
836D608A24   James Patrick Embrey           CARLISLE        PA
64C236D7FC   Jeff Garcia
D26F8C0EA1   Shane Burnett
D850E8D591   Richard Helms
D19437CE47   William Harold Alonso
D1085121C3   Christopher Kendall            ELGIN           SC
4AC09F9DBE   Stanley Su                     MONTCLAIR       CA
BC93C3D69F   CLARK RENDON                   PEKIN           IL
35721B1CB0   DARRELL WILLIS                 RIALTO          CA
C0147F5574   Oscar Cintronmarina            KILLEEN         TX
P008368666   MICHEL GLEMAUD                 KEW GARDENS     NY
42B43291A0   ROHIT CHOUDHARY                CHICAGO         IL
E1EF6569A0   Damien Diehl
781CE0B68F   TRION INGRAM                   DALLAS          TX
03E26B08B8   ELIZABETH HERNANDEZ            WINNETKA        CA
84A4F412A9   MICHAEL NIZINSKI               YORK            PA
22DC981594   ALEXANDER KING
94F79BE037   Clark Bilorusky                NEWAR           CA
3DB50E8DB3   RYAN DONOVAN                   ROSELLE         IL
33A282EE99   Luis Almanza
F6BBB76540   ALEXANDER KING                 BROKEN ARROW    OK
C174DE7550   JONATHAN BIRCHFIELD            STATEN ISLAND   NY
1100178434   MAX OFORI                      CLEVELAND       TN
D9600E3FB1   ADAM WHYTE
B294CBDC11   COREY KUKIS                    BEAVERTON       OR
1325CDE03B   Daniel Grossklaus              PLAINFIELD      IL
D39AE5C657   Kevin Susa                     CARSON          CA
3711BC5EA5   James LaFemina                 STATEN ISLAND   NY
668514EB8A   Adrian Bynum
F66E169F4E   JASON NEVILS                   SELLERSBURG     IN
